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                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF ILLINOIS
                                  WESTERN DIVISION


DR DISTRIBUTORS, LLC,

            Plaintiff/Counter-Defendant,               Case Number: 3:12 – cv – 50324

v.                                                     Judge: Frederick J. Kapala

21 CENTURY SMOKING, INC., and BRENT                    Magistrate Judge: Iain D. Johnston
DUKE,

            Defendants/Counterclaimant,

v.

CB DISTRIBUTORS, INC., and CARLOS
BENGOA,

           Counter-Defendants/Counterclaimants.


                 PLAINTIFFS’ MEMORANDUM OF LAW IN SUPPORT OF
                        RENEWED MOTION FOR SANCTIONS

         Plaintiff/Counter-Defendant       DR    Distributors,    LLC      (“DR”),    and     Counter-

Defendants/Counterclaimants        CB      Distributors,   Inc.   (“CB”)     and     Carlos    Bengoa

(“Bengoa”)(collectively the “Plaintiffs”) respectfully submit the following Memorandum of Law

in support of their renewed motion for sanctions against Defendant/Counterclaimant 21 Century

Smoking, Inc. and Defendant Brent Duke (“Duke”) (collectively, the “Defendants”).




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I.       PRELIMINARY STATEMENT

         Plaintiffs move for sanctions based on the disturbing conduct of Defendants and their

counsel, which was uncovered in early 2018 and has continued to unfold and expand over the past

year. Despite having many months and multiple opportunities to explain their misconduct, they

have not done so because the newly produced documents, the admissions of their failure to

properly preserve ESI, and their spoliation of evidence establish the most serious kinds of litigation

misconduct for which there is only one conclusion. Defendants and their counsel have engaged in

wide ranging litigation misconduct violating multiple Rules of Federal Civil Procedure, which

authorize this Court to issue a wide range of sanctions.

         This motion addresses the scope and impact of Defendants’ deceit, non-compliance with

Court orders, spoliation of highly relevant data and disregard of their legal obligations, and what

should be done to address it.      The lengthy detailed recitation of facts which follows was

necessitated by the broad scope of Defendants’ misconduct as uncovered through: 1) a review of

Defendants’ prior productions and the representations to the Court concerning those productions,

2) their June 1, 2018 production of previously withheld documents and data, 3) their numerous

sworn statements filed with this Court, 4) their counsel’s related oral representations and conduct,

5) their admitted spoliation of certain Yahoo Messenger chat communications, and 6) their

purported complete loss of all of Defendants’ electronically stored information (“ESI”) allegedly

collected in this litigation. Through this misconduct, Defendants created a false, selective and

incomplete record upon which they asked this Court to make dispositive rulings seeking millions

of dollars in damages with the knowledge that the record was fabricated and their claims meritless.

         As the Court wades through the mess created by Defendants and their counsels’

inexcusable and contemptuous conduct, it may struggle to find the just mix of sanctions to right



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this ship. Plaintiffs have suggested some in this brief, but believe that when the Court weighs the

withholding of documents and the selective production of other documents, as well as numerous

examples of straight out perjury and spoliation of highly relevant data by the Defendants, it may

find that the prejudice visited upon Mr. Bengoa (the owner of Plaintiffs DR and CB), and the

insults Defendants perpetrated on this Court and its Rules are so broad and gross, that justice can

only be served by the dismissal of Defendants’ counterclaims, entry of default and severe monetary

sanctions against the appropriate individuals.

         Defendants and their attorneys have evaded their obligations, covered up the truth,

disregarded the Rules, and in some instances, disregarded their oaths.             Fortunately, this

contemptuous behavior has been uncovered, albeit at the “11th” hour of this seven-year long

litigation. This Court has the power, supported by the Rules and the legal precedents cited below,

to protect not only parties coming to this Court for justice, but it has the obligation to protect the

integrity of the truth finding process, and we respectfully request that it do so by issuing

appropriate sanctions in this case.

II.      DEFENDANTS’ LITIGATION MISCONDUCT UNCOVERED TO DATE

         Plaintiffs have uncovered clear evidence of the following sanctionable litigation

misconduct by Defendants and their counsel, which is summarized and detailed in this Brief:

        Defendant Brent Duke falsely testified that Defendants possessed no e-mails with Kirti

Saraswat/Webrecsol, disobeyed a June 2015 Order commanding their production and

misrepresented that no such documents existed. Br. at 13, et seq.

        On March 19, 2018, Defendants selectively produced withheld Saraswat e-mails with

Duke, misrepresenting they were all irrelevant. The production was accompanied by false client

and attorney declarations that misrepresented the date of Duke’s last communication with


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Saraswat, and contradicted documents in that production, while intentionally withholding more

than 100 other responsive and relevant e-mails with her. Id.

        Defendants submitted a false declaration from Saraswat, setting forth a different date of

last communication, contradicting the documents they produced, and belying statements made by

Duke to his SEO expert witness that Saraswat was working on his website in September 2011

when Plaintiffs’ trademark was placed in Defendants’ website metatags. Id.

        Defendants concealed documents evidencing the fact that Duke and his agent and business

partner, Edmiston, orchestrated an encounter with Plaintiffs’ representative at a trade show, and

concealed the existence of a second, exculpatory recording. Br. at 22-24.

        Defendants withheld e-mails referencing communications between Edmiston and

Defendants’ lawyers that make clear there were multiple recordings, and counsel let them perjure

themselves and testify there was only one recording. Br. at 24-26.

        Defendants withheld evidence and relied on perjured testimony in trying to avoid summary

judgment. Br. at 25.

        Defendants concealed e-mail exchanges between Duke and its Chinese manufacturer

advising that Duke had sent one of Plaintiffs’ e-cigarette batteries, asking that a compatible product

be manufactured for Defendants to sell to Plaintiffs’ customers. Br. at 27-28.

        Defendants concealed an e-mail from Duke’s wife and employee boasting that she made a

sale to Plaintiffs’ customers. Br. at 28.

        Defendants and counsel failed to search all employees’ email accounts such as Laurie Duke

and Brandon Duke who were identified in Rule 26 Disclosures. Br. at 28-29.

        Defendants concealed and withheld online sales data that contradicts their sales, growth,

market penetration, and damages arguments, including their expert’s opinions. Br. at 29-31.


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        Defendants concealed documents evidencing the fact Duke testified falsely that he did not

believe that keyword metatags affected SEO rankings because he was told so by a person named

Otis Chandler, while concealing e-mails with Chandler stating the opposite. Br. at 31-33.

        Defendants concealed documents evidencing the fact Duke testified falsely that he lacked

knowledge of SEO and the skill to edit website metatags allowing him to insert Plaintiffs’

trademark in their website. Br. at 35-37.

        Defendants concealed documents evidencing the fact Duke testified falsely about his

alleged ignorance concerning SEO, and concealment of his e-mails discussing a scheme to misuse

competitors’ trademarks to gain an advantage in SEO. Br. at 33-34.

        Defendants concealed documents evidencing the fact Duke testified falsely that he had no

involvement in the creation of a certain website, did not represent Webrecsol as to same, and barely

knew an alleged customer, while concealing 2008-2009 documents reflecting his HTML coding

work on the project, the true name of the customer and that customer’s employment as Defendants’

Director of Sales and Marketing. Br. at 34-39.

        Defendants concealed of all company e-mails of its Director of Sales and Marketing despite

revealing that his hard drive was among those allegedly searched. Br. at 34 and 37-38.

        Defendants’ counsel failed to disclose their discovery misconduct when they admitted that,

by March 19, 2018, they knew they had not searched Duke’s Brentduke@yahoo.com account, yet

filed Summary Judgment submissions that day without revealing same, and misrepresented that

the 112 hand-selected pages of Saraswat e-mails produced were the full extent of such

communications and not relevant. Br. at 15, et seq.

        Defendants’ counsel failed to disclose Defendants misrepresented that their only mistake

was not searching Duke’s Yahoo.com e-mail account, and that their 2018 production contains only


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“new documents,” while concealing that almost 2,600 of the e-mails in their 2018 production are

mere duplicates of e-mails that were sent to Duke’s bduke@21centurysmoking.com inbox, but

were never previously produced. Br. at 39-42.

        Defendants and counsel fabricated an excuse of “auto-purging” of all “sent” e-mails from

two GoDaddy e-mail accounts, but which is belied by their prior productions. Br. at 42-48.

        Defendants and counsel, until March 19, 2018, concealed their knowledge of “auto-

purging,” when they submitted Duke’s Declaration stating he was aware of it in 2014. Br. at 42-

43.

        Defendants and counsel failed to produce e-mails known to have been sent to Duke’s non-

“auto-purged” support@21centurysmoking.com inbox, and offered no explanation as to why they

cannot now be located despite Duke’s testimony he never deletes e-mails. Br. at 45-46.

        Defendants and counsel misrepresent when their duty to preserve ESI arose despite their

own privilege log entries establishing that Defendants had retained legal counsel and drafted

Complaints against Plaintiffs in 2011. Br. at 48.

        Defendants’ counsel failed to issue a litigation hold, failed to take reasonable measures to

investigate and preserve ESI, and lost same. Br. at 46-47.

        Defendants and counsel made misrepresentations regarding “auto-forwarding” to a

Yahoo.com account from two GoDaddy e-mail accounts, as a review of their productions shows

there was never any auto-forwarding involving their support@21centurysmoking.com account,

and none as to bduke@21centurysmoking.com at any time prior to April 20, 2013. Br. at 48-49.

        Defendants and counsel failed to ever preserve or search Defendants’ Yahoo Messenger

chat data, and then allowed same to be spoliated. Br. at 49-50.




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        Defendants and counsel spoliated their entire universe of ESI they allegedly collected in

2014, preventing forensic analysis of same. Br. at 50.

III.     KEY CASE EVENTS AND COURSE OF DISCOVERY

         After reviewing the record, the reason for Defendants’ litigation and discovery misconduct

becomes apparent. They concealed evidence that conflicted with the false case narrative that they

had knowingly advanced through false pleadings, during fact and expert discovery, and in their

summary judgment submissions. We review the following key milestones to frame the Defendants

misconduct, how it specifically prejudiced Plaintiffs, and how it impacts all of the claims and

defenses in this action.

    A.   MISCONDUCT GOES TO CRITICAL CASE ISSUES AND IMPACTS FACT AND
         EXPERT DISCOVERY (2012 - 2017)

         Since early in this litigation, Defendants have been aware that evidence of their “unclean

hands” would be fatal to their infringement claims and defenses. In fact, within months of filing

this litigation in September 2012, this Court entered a Preliminary Injunction against Defendants

for misusing and misappropriating Plaintiffs’ registered trademark, 21ST CENTURY SMOKE,

within the metatags of the Defendants’ website (“Misuse of Metatags”). See Dkt. Nos. 26 (Court’s

Opinion dated 3/14/13) and 27 (Preliminary Injunction entered 3/14/13). The following year,

Defendants moved this Court to cancel Plaintiffs’ registered trademarks, but were unsuccessful,

because this Court held that evidence in the record: (a) from which a fact finder might “reasonably

conclude that [Defendants] were content to profit from the success of [Plaintiffs’] junior use until

[Defendants found themselves] sued for infringement;” and (b) that supported Plaintiffs’ equitable

defense of “unclean hands.” See Dkt. No. 80 (Court Opinion and Order dated 6/16/14).1



1
 Judge Kapala found that Defendants had senior user status, but contrary to Defendants’ allegations, did
not find that Plaintiffs were “bad faith” junior users or that Defendants had any common law rights. Id.

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         During fact discovery, this Court ordered the parties to “reconvene a 26(f) conference to

discuss e-discovery issues in detail with the e-discovery custodians for each side.” See Dkt. No.

78 (Minute Entry dated 5/15/14). That conference occurred in June 2014, with Defendant Duke

participating along with counsel. The parties exchanged e-discovery search terms and conducted

e-discovery. Remarkably, during 2014, Duke allegedly learned, but failed to disclose until 2018,

that many of Defendants’ e-mails had been lost as a result of auto-deletion, and that no preservation

of this data ever took place. Dkt. No. 234-2 at ¶ 4 (Duke Declaration dated 3/19/18).

         In late 2014, Defendants amended their pleadings to add claims -- we now know were

meritless and fabricated -- for defamation and trade disparagement. See Dkt. No. 99 (Second

Amended Counterclaim dated 11/22/14). These claims were based upon statements that were

allegedly made by Adam Olcott (“Olcott”) to Bill Edmiston (“Edmiston”) at the Global Gaming

Exposition in Las Vegas in 2013 (“September 2013 Trade Show”). See Id. at ¶¶ 37-47. Although

Plaintiffs sought leave to add an affirmative defense of “invited defamation,” Defendants opposed

the motion and this Court ultimately denied the motion. See Dkt. No. 154 (Court’s Opinion and

Order dated 10/30/15). Neither Defendants nor their counsel disclosed that they had failed to

produce evidence critical to these issues.

         Critically, this Court granted Plaintiffs’ Motion to Compel Discovery in 2015 concerning

two key issues in this case, i.e., Defendants’ Misuse of Metatags and Defendants’ early on-line

sales, which are relevant to Plaintiffs’ unclean hands defense and the common law trademark rights

asserted by Defendants. See Dkt. No. 132 (Court Order dated 6/11/15 Order). Defendants and

their counsel represented in writing that “no such documents exist to our knowledge concerning

SEO and internet keyword rankings after 2009.”2 See March 25, 2019 Declaration of Brian E.


2
 As explored more fully below, this date is significant because Defendants’ Misuse of Metatags did not
commence until approximately October of 2011.

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Moffitt in Support of Renewed Motion for Sanctions (“Moffitt Decl.”) at Exhibit CCC (June 12,

2015 e-mail from Travis Life, Esq.). The parties then conducted expert discovery and related

motion practice in reliance upon the incomplete and selective information provided by Defendants.

 B.    DEFENDANTS MOVE FOR SUMMARY JUDGMENT AND FAIL TO DISCLOSE
       KNOWLEDGE OF WITHHELD DISCOVERY/ LOSS OF ESI (JAN. – JUNE 2018)

       On January 15, 2018, the parties filed motions for summary judgment in which Plaintiffs

again raised concerns about suspicious deficiencies in Defendants’ discovery responses. On the

evening of March 19, 2018, the deadline for submitting final briefs, Defendants produced 112

pages of new paper documents (the “March 19 Production”) which were attached to an e-mail

from Defendants’ counsel Peter Stamatis, Esq. stating: (a) the documents were related to Plaintiffs’

missing documents claims; (b) Defendants did not believe they were relevant, and (c) this

production “belied” Plaintiffs’ assertions that Defendants were withholding unfavorable

documents. See Moffitt Decl. at Exh. A. At the same time, Defendants filed pleadings further

supporting their motion for summary judgment and opposing Plaintiffs’ Motion for Summary

Judgment, wherein they: (a) falsely maintained that Plaintiffs had never before raised concerns

over missing e-mails, had never filed a motion to compel, and that no relevant e-mails had been

withheld; (b) simultaneously used and incorporated the withheld documents, composed mostly of

e-mails, into their briefing; and (c) never disclosed the scope and extent of their discovery

misconduct and withheld documents despite full knowledge of same. See Dkt. No. 233 at pp. 24-

25 (Defendants’ 03/19/18 Response Brief to Plaintiffs’ Motion for Summary Judgment).

       Based on the Defendants’ production of withheld documents and concerns of other

litigation misconduct, Plaintiffs moved for sanctions and leave to amend their motion for summary

judgment on April 6, 2018. See Dkt. No. 239 (“Plaintiffs’ Motion for Sanctions”). This prompted

an April 17, 2018 conference with the Court - the first of many over the past year -- to address

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Defendants’ ongoing discovery misconduct. At that conference, Defendants were warned that

their efforts to explain and defend their discovery deficiencies had “better be really good and

supported by an affidavit.”              Dkt. No. 249 at 23:17-19 (Transcript of 04/17/18

Conference)(emphasis added). Rather than explaining their misconduct, Defendants opposed

Plaintiffs’ motion, contesting the sanctions or even an amendment to the briefings. See Dkt. No.

253 (Defendants’ Opposition to Plaintiffs’ Motion for Sanctions, dated 5/14/18). Defendants

“explained” that their newly-produced documents - and a whole other set of newly discovered (but

not yet produced) documents - were inconsequential to either the pending summary judgment

motions or Plaintiffs’ Motion for Sanctions because those new documents “d[id] not support any

of Plaintiffs’ claims.” Id. at 2, 11. Defendants claimed that their late production was “excusable,”

“substantially justified,” and “harmless,” and admitted, for the first time, that relevant e-mails may

have also been deleted. Id. at pp. 10-14. To date, Defendants and counsel have not explained their

misconduct or why they made these baseless and misleading statements to the Court.

         From March through May 2018, Defendants and their counsel made representations trying

to minimize the significance of their discovery misconduct and resisted any additional document

productions.3 They did this improperly, as Defendants’ counsel had full knowledge that the March

2018 Production represented a small fraction of responsive documents that Defendants were

continuing to conceal from both Plaintiffs and the Court. See Dkt. 253-2 ¶¶ 11-13 (Declaration of

T. Life dated 5/14/18). This Court Ordered that Defendants produce all of the documents that they

withheld by no later than May 31, 2018, in both paper and native format. See Dkt. No. 254.


3
  See, e.g., Dkt. No. 233 at p. 22 (where Defendants assert, on 3/19/18, that Plaintiffs’ claims about missing
documents are “manufactured,” “insignificant,” and “untrue”); Dkt. No. 249 at 21:1, 22:11-13 (Defendants
argue Plaintiffs are pursuing a “road to nowhere” and that their March 19 Production proved there was “no
smoking gun,” “nothing there,” and took the issue of missing e-mails “off the table”); Dkt. No. 253 at. pp.
2, 11 (Defendants claim they investigated the claims, located the alleged missing documents and promptly
produced them,” and that, “[t]here is no ‘smoking gun’ or really any evidence that favors Plaintiffs’ claims.)

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       On the evening of May 31, 2018, Defendants produced documents in native format,

amounting to approximately 2.5 gigabytes of data contained in over 12,000 documents (“May 31

Native Production”). The following day, Defendants produced five boxes of paper documents

(“June 1, 2018 Paper Production”) containing over 15,000 pages of documents. As detailed below,

a review of the two sets of data confirmed that the Defendants and their counsel had selectively

withheld responsive documents that were in the native data – but were not in the paper set they

had reviewed, bates stamped and prepared for production. Moffitt Decl., ¶ 71-78, Exhs. FFF-III)

 C.    DEFENDANTS’ LATE PRODUCTIONS REVEAL CRITICAL EVIDENCE WAS
       IMPROPERLY WITHHELD AND/OR SPOLIATED (JUNE – AUG. 2018)

       Plaintiffs reviewed Defendants’ newly produced documents in paper and native format and

provided an initial assessment of their findings at an August 14, 2018 status conference (“August

2018 Presentation”). Detailed at length below, these documents revealed that Defendants had: (a)

seriously misrepresented the relevance of the withheld documents; (b) manufactured and offered

false testimony on their defamation claim; (c) concealed evidence that was highly relevant to

Plaintiffs’ claims regarding Defendants Misuse of Metadata; (d) removed documents that

contradicted their market penetration claims relevant to their common law trademark claim; and

(e) misrepresented and concealed the scope of their document preservation/collection failures.

Plaintiffs also identified e-mails that referenced Yahoo Messenger chat (“Yahoo Messenger Chat”)

exchanged between Duke and Ms. Kirti Saraswat (an individual who performed SEO consulting

services for Defendants) that had never been produced or identified as a source of relevant ESI by

Defendants. See Dkt. No. 267 at 31:7-18 (Transcript of 8/14/18 Hearing). Defendants were then

given additional time to locate and produce these documents which they had never preserved,

collected or searched. Id. at 33:1-10; 58:1-5. Neither Defendants’ nor their counsel have explained

why they failed to fulfil their legal obligations concerning this and other data in this case.

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         Defendants continued to conduct themselves in a manner that this Court observed was

“troubling and disturbing,”4 and in spite of repeated warnings and direction from this Court,

Defendants failed to take appropriate measures to investigate or recover the missing data. For

example, although Defendants first reported that their vendor could recover the missing Yahoo

Chat documents, they later reported that it could not, and even advised that the data might be lost

after November 8, 2018. Dkt. No. 273 (Report to Court dated 10/10/18). Defendants later advised

that they were “doing everything in their power” to retrieve the documents and the Court

specifically cautioned them about making specific inquiries to Yahoo concerning the preservation

of this data. See Dkt. No. 278 at 9:11-20; 37:8-18 and 53:16-18 (Transcript of 10/16/18 Hearing).

         Defendants did not act in accordance with their claims or this Court’s directives because

they later disclosed, without further explanation, that the Yahoo Messenger Chat documents had

been spoliated. See Dkt. No. 281 (Defendants’ Report to Court dated 11/28/18). Defendants were

made aware of the spoliation a month before this was ever disclosed to Plaintiffs and the Court.

See Dkt. No. 281 at Exhibit A (October 23, 2018 correspondence to Defense counsel from Oath

Holdings Inc. (“Oath”)(formerly Yahoo Holdings, Inc.) in response to the Yahoo Subpoena). After

the Court received the parties’ November 28, 2018 report concerning the loss of the Yahoo

Messenger Chat documents, it scheduled another status hearing, for January 29, 2019, to address

Defendants’ discovery deficiencies and this sanctions motion.

    D.   DEFENDANTS TRY TO AVOID SANCTIONS BY SEEKING DISMISSAL OF
         DEFAMATION CLAIM AND FALSE SARASWAT DECLARATION (OCT. 2018)




4
 See Dkt. No. 274. Minute Entry dated October 10, 2018, where the Court indicates that Defendants’
Report was “troubling and disturbing,” and reminds Defendants that it was “not up to the court to instruct
counsel on how to preserve evidence.”

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       Defendants next sought to minimize sanctions by “removing” their frivolous and meritless

defamation claim. As detailed below, Defendants and counsel withheld key documents and made

misrepresentations about those documents and claims. On October 15, 2018, Defendants moved

for leave to dismiss their defamation claim. See Dkt. No. 275. Plaintiffs agreed to a dismissal but

only upon on the condition that Defendants could not dismiss a meritless claim without sanctions.

Defendants’ motion was denied. See Dkt. Nos. 279 (Plaintiffs’ Response dated 11/7/18) and 292

(Court Order dated 2/12/19). In October 2018, Defendants also filed a Declaration from Saraswat

that appears to have been drafted by Defendants’ counsel and was offered to respond to Plaintiffs’

proofs that Defendants withheld and lost relevant e-mails and chat messaging between Duke and

Saraswat, and to argue that she did not work on Defendants’ website after February 2010 and could

not have been responsible for the Misuse of Metatags which occurred between October 2011 and

March 2013. See Dkt. 276. As detailed below, this statement is false and belied by Defendants

own documents that reveal Saraswat worked with Defendants beyond February 2010.

 E.    DEFENDANTS DISCLOSE THEIR ESI DATA WAS SPOLIATED (JAN. 2019)

       In January 2019, Defendants disclosed that the forensic ESI images taken from Defendants’

computers in 2014 (“ESI Data Set”) were also spoliated during the course of this litigation. See

Dkt. No. 288 (Defendants’ Report to Court filed on 1/22/19). Defendants have failed to explain:

(a) what became of the data sourced on the original hard drives; or (b) why this spoliation of

evidence was not disclosed before January 22, 2019, despite multiple court conferences and filings

over the last year concerning Defendants’ discovery misconduct. It is unclear when this spoliation

was discovered by Defendants or their e-discovery vendor. This problem should have been

discovered at the very latest by January 2018, when the issue of missing discovery was raised in

Plaintiffs’ motion for summary judgment.



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IV.    DEFENDANTS’ CONTINUING LITIGATION MISCONDUCT

       Plaintiffs provide the following detailed summary of the numerous instances of litigation

misconduct by Defendants as revealed in their conduct during discovery, a review of the withheld

documents and the misrepresentations made by Defendants and their attorneys to the Court orally

and in writing through briefs and Declarations under oath.

 A.    DEFENDANTS INTENTIONALLY WITHHELD SARASWAT EMAILS
       AND OTHER DOCUMENTS ON MARCH 19, 2018, AND CONCEALED
       THAT THEY NEVER SEARCHED DUKE’S YAHOO EMAIL ACCOUNT

       On March 19, 2018, Defendants intentionally withheld from production numerous

responsive and relevant e-mails exchanged between Duke and Defendants’ SEO consultant, Kirti

Saraswat. They simultaneously submitted demonstrably false attorney and client Declarations

regarding that production and the nature and timing of Duke’s communications with Saraswat.

This deceit was further perpetuated when Defendants prepared and filed the Declaration of Ms.

Saraswat in which she falsely asserted that her work for Defendants ended in or about February

2010. See Dkt. No. 276 at ¶ 4 (Declaration of Saraswat dated 10/13/18).

       Had Plaintiffs not responded to Defendants’ March 19 production by filing a motion for

leave to submit additional summary judgment briefing and for sanctions to address that late

production, Defendants may have gotten away with concealing the fact that they had, on March

19, 2018, intentionally withheld approximately 109 additional responsive Saraswat e-mails they

had discovered and reviewed but left out of their production. Moffitt Decl. at ¶ 5. Moreover,

instead of alerting the Court and Plaintiffs that they had determined, no later than March 19, 2018,

that they had never before performed any search of Duke’s Yahoo e-mail account, Defendants




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concealed that fact, and misrepresented that the cherry-picked 112 pages produced on March 19,

20185 contained the entirety of the previously withheld communications with Saraswat.

         As such, they sought to have this Court rule on pending summary judgment with full

knowledge of their litigation misconduct and without revealing it, all in the hopes of completing

this unlawful course of behavior. By engaging in this improper conduct, Defendants intentionally

violated this Court’s June 11, 2015 Order, by which they were to produce all documents regarding

Saraswat, Webrecsol, and/or SEO, generally, not just those they considered helpful to their case.

A timeline of events relevant to this aspect of Defendants’ sanctionable misconduct follows.

         In Plaintiffs’ January 15, 2018 summary judgment motion, they detailed Defendants’

failure, during discovery, to produce any e-mails from Saraswat. Dkt 216-2 at ¶¶ 139-142.

Plaintiffs also cited to, among other things, Duke’s deposition testimony that such e-mails did

exist, and Plaintiffs’ prior unsuccessful efforts to extract same, including obtaining an Order

compelling production. Id. and Dkt. No. 132 (Order dated 06/11/15). On the night of March 19,

2018, just a few hours before the deadline for the parties’ final summary judgment submissions,

Defendants responded by producing, for the first time, 112 pages of documents, comprised almost

entirely of e-mail exchanges between Duke and Saraswat.6               Defendants then cited to and

incorporated these e-mails in their accompanying brief, as well as to the Duke and Life

Declarations submitted that day, in further support of their motion for summary judgment, and in

opposition to Plaintiffs’ motion. Dkt. 233 at p. 24, 234-1 at ¶ 4, and 234-2 at ¶ 2.




5
  Of those e-mails making up the 112 pages, one string involved Frank Gu, six others were sent by Saraswat
to Duke at his support@21centurysmoking.com address, and the other 49 were sent to him at his
brentduke@yahoo.com account. As noted, all of these Saraswat e-mails, which hit Plaintiffs’ 2014 ESI
search terms, were improperly withheld from production for years after discovery closed and after the
deadline for summary judgment briefing. Moffitt Decl. at ¶ 4.
6
  The production also included an e-mail between Duke and Gu which had been improperly withheld. Id.

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       Although Defendants had been planning the production of these additional documents for

days, they waited until the night of the summary judgment deadline to produce them, to prevent

Plaintiffs from having the time to take action with the Court, let alone review and/or utilize same

in their final round of briefing. Specifically, in a Declaration of attorney Travis Life submitted on

May 14, 2018, he admitted that he had contacted Duke on March 14, 2018, by e-mail, to schedule

a call regarding the missing documents, and then spoke with Duke on March 15, 2018. Dkt. 253-

2 at ¶ 11. Life stated that he requested that Duke “re-search” his brentduke@yahoo.com e-mail

account to “locate any and all emails related to … Kirti Saraswat, and Webrecsol….” Id. Life

admitted that Duke found emails related to Saraswat and Webrecsol, and that Duke provided those

emails to Life on March 17 and 18, 2018. Id. Life stated that he “immediately” reviewed those

documents, yet admitted they were not produced to Plaintiffs until the night of March 19, 2018,

providing no notice that there were issues with their prior productions. Id. at ¶ 12.

       Life further admitted that, while he was “immediately” reviewing the documents forwarded

by Duke on March 17 and 18, 2018, he “questioned whether [Defendants’ discovery vendor]

4Discovery searched Mr. Duke’s yahoo.com email account.” Id. at ¶ 13. Life admitted he

contacted 4Discovery and said they “confirmed” their searches, using Plaintiffs’ search terms,

would not have analyzed a web-based email account not stored on hard drives. Id. Defendants’

counsel Thomas Leavens admitted in his May 14, 2018 Declaration: “During the summary

judgment filings, I came to learn that Mr. Duke’s personal [sic] Yahoo.com email address,

brentduke@yahoo.com, were not subject to search terms DR submitted.” Dkt. 253-1 at ¶10.

       On March 19, 2018, Defendants knew that they were about to produce dozens of e-mails

found through an alleged “re-search” of Duke’s yahoo.com account, while also including a few

from his support@21centurysmoking.com account, and knew that every one of the Saraswat e-



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mails they were producing contained, at a minimum, Plaintiffs’ 2014 ESI search term

“Webrecsol.” Defendants knew that all of those documents should have hit Plaintiffs’ search terms

as allegedly applied back in early 2015, and that they had never before been produced. Both Life

and Leavens admit they knew that brentduke@yahoo.com had never before been searched. Yet,

they made the calculated decision during the summary judgment briefing and before the March

19, 2018 final briefing deadline to conceal these facts from the Court and Plaintiffs in the hopes

they would not be discovered and summary judgment would be granted on their client’s claim

seeking tens of millions of dollars in damages based upon a false set of facts created by

Defendants’ and their attorneys’ intentional misconduct.

       Defendants kept quiet about their scheme and discovery failures and simply produced 112

pages of hand-selected documents almost entirely from Duke’s Yahoo.com email account. In the

email forwarding the documents at 8:26 p.m., Defendants’ counsel Peter Stamatis stated:

       Within the last 48 hours, we received the attached additional documents from 21CS.
       The documents are related to DR’s claim of missing documents, which was raised for
       the first time in its summary judgment motion. They have been Bates stamped 21C
       63515-21C 63626. We do not believe they are relevant to any claim, other than that
       they belie assertions of withholding unfavorable documents.

See Moffitt Decl. at Exh. A.

       This was another false statement by Defendants and their counsel as to the responsiveness

and relevance of these documents, and their continued concealment of other discovery misconduct.

As detailed below, Plaintiffs’ counsel would later determine that Defendants had also intentionally

withheld approximately 109 other Saraswat e-mails from their March 19, 2018 production. Dkt.

267 (8/14/18 Hearing Transcript) at p. 47 and Moffitt Decl. at ¶ 5. Even a cursory review of the

112 pages Defendants selectively produced on March 19, 2018 shows that all of those documents

were responsive, as they all contained Plaintiffs’ ESI search terms, and many went directly to key



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issues in the case. See Moffitt Decl. at Exh. A. For instance, although arguing that the 112 pages

were not relevant, Defendants simultaneously filed a Brief in which they argued that the 112 pages

showed that Saraswat did not work for Defendants after April 2010, and therefore could not have

put Plaintiffs’ trademark in Defendants’ website metatags in 2011. Dkt. 233 at p. 24. Later,

Defendants filed the October 2018 Declaration of Ms. Saraswat, in which she claims she did not

work for Defendants after February 2010. See Dkt. No. 276 at ¶4. However, Defendants’ own

recently produced documents show that Ms. Saraswat did work after that time – as such, her

Declaration, and Defendants’ and Defendants’ attorneys’ representations to this Court are false.

       The 112 pages Defendants selected for production on March 19, 2018 contained highly

relevant documents concerning core issues in this case including: 1) a June 1, 2009 e-mail showing

when Duke got his first e-cigarette product shipment and made his first sale (See Moffitt Decl. at

Exh. B); 2) a June 25, 2009 e-mail that shows Duke owned and operated another website

(sportsdoctrine.com) which he failed to reveal at his deposition, falsely testifying he had no other

websites except brentduke.com and 21centurysmoking.com, and that he had been working on same

with Saraswat for two years (See, e.g., Moffitt Decl. at Exh. C); 3) a September 8, 2009 e-mail

that reveals how Duke went about personally installing Zen Cart – the e-commerce program

Defendants claim may have “auto-populated” Plaintiffs’ mark into Defendants’ website metatags

-- in Defendants’ website without help from anyone, undercutting his false representations that he

had no skill or ability to insert Plaintiffs’ mark in his website (See Moffitt Decl. at Exh. D); 4) a

September 21, 2009 e-mail where Duke complained that he was only getting a couple hundred

organic hits on his website per month, which he said was not a lot, belying Defendants’ claims,

and those of their market penetration expert, that they experienced “impressive growth” during

that period (See Moffitt Decl. at Exh. E); 5) a December 4, 2009 e-mail where Saraswat asked



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Duke to come online so they could chat so they could work together on the website, revealing that

is how they often communicated and worked collaboratively on websites, yet Defendants had

never before identified or produced any such chat communications and have now spoliated these

relevant documents (See Moffitt Decl. at Exh. F); 6) a December 23, 2009 e-mail when Duke told

Saraswat he made edits to the website, “but didn’t mess with the keywords” (See Moffitt Decl. at

Exh. G); 7) a January 15, 2010 e-mail when Duke complained: “I just have to figure out how to

generate some freaking traffic to site to get some sales….” (See Moffitt Decl. at Exh. H); and 8)

an April 29, 2010 e-mail where Saraswat told Duke she would not do any more work on his 21CS

website until she got paid, to which Duke responded by stating that “my website (21 Century

Smoking) hits haven’t really increased at all in the past 6 months” (See Moffitt Decl. at Exh. I).

These relevant emails belie Defendants’ claims of market penetration and Duke’s alleged inability

to make changes to his website.

       Despite their obvious relevance, Travis Life, Esq. furthered attorney Stamatis’

misrepresentation as to the value of these documents when, in his March 19, 2018 Declaration, he

claimed Defendants produced the 112 pages only “out of an abundance of caution,” falsely stating

that Defendants had no communications with Saraswat or Webrecsol after April 2010, but they

“[n]evertheless…obtained the earlier email communications with Kirti Saraswat from 21CS.”

Dkt. 234-1 at ¶ 4. Defendants also submitted a March 19, 2018 Declaration of Brent Duke, in

which he falsely stated:

       I employed Webrecsol to manage 21 Century Smoking’s web site and to provide SEO
       services from approximately January 2009 through April 2010. After April 2010, I had
       no further communications with Webrecsol or Kirti Saraswat regarding 21 Century
       Smoking’s web site and, in particular, no communications about metadata on the site.

Dkt. 234-2 at ¶ 1. Duke and Life’s Declarations were contradicted by one of the e-mails between

Duke and Saraswat that Defendants’ produced on March 19, 2018. That communication, dated

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June 29, 2012, discusses Duke’s websites potentially making a big SEO splash in India, creating

a corresponding website for India, and going into business with Saraswat selling his e-cigarettes

there. See Moffitt Decl. at Exh. J. Defendants misrepresented that all the emails they produced

fell within the range between March 31, 2009 and April 29, 2010. Dkt 234-2 at ¶ 4 and Moffitt

Decl. at Exh. A and ¶ 4. Duke made up his story about having no communications after April

2010 to fit his story that his SEO consultant stopped working for him before Plaintiffs’ trademark

was in Defendants’ website. The documents show this story is an intentional fabrication.

       Had Plaintiffs’ counsel taken these statements at face value, Defendants might have gotten

away with their egregious litigation misconduct, and kept hidden the dozens of other Saraswat e-

mails they were aware of on March 19, 2018, but decided not to produce or even disclose their

existence. Nowhere in Defendants’ March 19, 2018 e-mail, declarations or brief, did they state

anything about the existence of other Saraswat emails, or their known failure to ever search the

brentduke@yahoo.com email account despite having full knowledge of both. They were content

to have Plaintiffs and the Court rely on these misrepresentations and to have this Court rule on

summary judgment based upon a fabricated record.

       Not only is this conscious effort to deceive elucidated by what Defendants and their counsel

chose to produce (and not produce) on March 19, 2018, but also how they chose to organize that

production. The subset of e-mails selected by Defendants for production on March 19, 2018 were

conveniently limited to the date range of March 23, 2009 to April 29, 2010, with the one June 29,

2012 e-mail placed in the chronology, as though it was dated June 29, “2009.” See Moffitt Decl.

at ¶ 4. Upon review of Defendants’ June 1, 2018 Paper Production, it became clear that

Defendants’ had withheld many relevant communications between Duke and Saraswat that

occurred before and after the time period to which they limited their March 19, 2018 production.



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More specifically, Plaintiffs found that Defendants had intentionally withheld 36 other e-mails

between Defendants and Saraswat that occurred prior to March 31, 2009. See Moffitt Decl. at ¶5.

Defendants also intentionally withheld another 29 e-mails post-dating their alleged final

communication with Saraswat in April 2010. Id. These 29 e-mails range between May 13, 2010

and March 10, 2013. Id. Also, Defendants intentionally withheld another 44 such e-mails between

Duke and Saraswat which fell between March 31, 2009 and April 29, 2010. Id. Accordingly, on

March 19, 2018, while producing 112 pages, Defendants intentionally withheld a total of 109 other

e-mails that hit Plaintiffs’ ESI search terms and which had previously been ordered to be produced.

Id. This establishes that their sworn statements to the Court were knowingly false.

       Among the documents intentionally withheld on March 19, 2018 were the March 2013

exchanges where Duke asked Saraswat if she placed Plaintiffs’ trademark in Defendants’ metatags.

See Moffitt Decl. at Exhs. K and L. Saraswat said she did not remember and would have to check,

causing Duke to repeatedly ask that she get back to him the next day. Id. Despite this and other

2012 e-mails, detailed above, where Saraswat and Duke discussed going into business together

selling Duke’s e-cigarette products and making a big SEO splash there, as late as the August 14,

2018 court conference, Defendants’ counsel continued to misrepresent to the Court that Duke had

no communication with Saraswat after April 30, 2010 regarding his website generally, or SEO in

particular. Specifically, this Court asked attorney Stamatis: “But wasn’t one of their points that

Duke also testified that there was no further communications after April 10th and yet there turns

out to be one?” See Dkt. 267 (8/14/18 Transcript at p. 57). Stamatis responded with the following

misrepresentation: “With regard to his website. With regard to operating the website, doing work

for him on the website, that was the end of the relationship with regard to his website.” Id.




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       Defendants’ counsel knew that, among the documents withheld on March 19, 2018 and

that they had been compelled by Court order to produce in their June 1, 2018 Paper Production,

was a September 13, 2010 e-mail into which Duke copied “Our chat on Mon, 9/13/10 7:45 p.m.”

that he had with Kirti Saraswat. See Moffitt Decl. at Exh. Q. This was five months after the date

(“April 2010”) that Duke and attorney Stamatis misrepresented that Duke last communicated with

Saraswat about work on Defendants’ website. That September 2010 chat log has two and a half

pages of back and forth between Duke and Saraswat regarding nothing but work on his website

and SEO such as search analytics, improvement in rankings, keywords and more. Id.

       This document is just one example, but it alone renders false Duke and Life’s March 19,

2018 Declarations, and counsel’s numerous subsequent knowingly false representations to the

Court regarding when the last contact with Saraswat occurred and all the arguments they made in

seeking summary judgment based on this falsehood. It also belies numerous other arguments in

Defendants’ summary judgment briefing, as well as opinions of their experts. Yet, Defendants’

counsel intentionally withheld this document on March 19, 2018, and, after producing it,

repeatedly and falsely represented that there is nothing in the production that favors Plaintiffs.

       Defendants have no regard for the truth or the Rules of this Court as they have actively

concealed their misconduct and relevant evidence. Their fabricated explanations are belied by

their SEO expert, Brian Brown, who produced notes of conversations with Duke and testified

regarding same, in which Duke stated to Brown that Saraswat still had access to Defendants’

website in September 2011, when Plaintiffs’ trademark would have been placed in Defendants’

metatags. See Moffitt Decl. at Exh. R (Exhibit 5 to the 5/13/16 Deposition of Brian Brown). Those

notes, authenticated by Brown, state that Duke had also told him that Saraswat was probably still

working on his website in 2012. Id. On March 19, 2018, Defendants decided to pivot and hope



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that no one would review the record, and picked April 30, 2010 as her last day because it fits their

fabricated story to deflect from their misconduct, while hiding documents belying same.

       As noted, Defendants also intentionally withheld responsive and relevant Saraswat

communications prior to April 30, 2010. One of those was the April 2009 Otis Chandler

exchange, detailed below, which was then forwarded to Saraswat. Numerous other e-mails relate

to Duke’s previously undisclosed “sportsdoctrine.com” site, a website he created, owned, operated

and concealed during his deposition so as to pretend not to have computer or website skills, falsely

claiming instead that he only had created and operated his 21centurysmoking.com and

brentduke.com websites. See Moffitt Cert. at Exhs. C and S (9/16/15 Duke Dep. at 54:15 – 56:13).

 B.    DEFENDANTS CONCEALED EVIDENCE SHOWING THAT THEY
       ORCHESTRATED THEIR DEFAMATION CLAIM

       In November 2014, Defendants were granted leave to file a Second Amended Counterclaim

to add an eighth count, for Defamation Per Se, based upon allegations that Plaintiffs’

representative, Olcott, made false statements about Defendants to Edmiston at the September 2013

Trade Show. See Dkt. No. 88 at ¶¶ 37-47 (Defendants’ Second Amended Counterclaim). At the

time of that Expo, Edmiston was an authorized agent for Defendants, was aware of this litigation,

and shared a financial interest in the success of Defendants’ business with a written contract to be

paid 50% of Defendants’ product sales to various enumerated major retailers. See Dkt. No. 216-

2 at ¶¶ 68-73 (Plaintiffs’ Jan. 15, 2018 Statement of Undisputed Material Facts (“SUMF”) and

related Exhibits at Dkt. No. 216-15 (Deposition of Edmiston (“Edmiston Dep.”) at 10:21 – 11:4,

34:10-16, 57:1 – 60:6, and 63:20-25, and Exhibit F thereto at p. 21C 61293)); Dkt. No. 216-12

(6/17/2015 Duke Dep. at 320:18 - 321:4 and 321:20 - 322:10, and Exhibit 5 thereto)).

       At his June 17, 2015 deposition, Brent Duke was asked: “Did you give him (Edmiston) any

direction to record any of the events taking place at the trade show?” Duke’s answer, under oath,


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was one word: “No.” Moffitt Decl., Exh. T (9/17/15 Duke Dep.) at 316:8-10. At Edmiston’s

deposition on June 29, 2015, Edmiston also denied that anyone from Defendants’ company

instructed him to have a conversation with anyone at Plaintiffs’ convention booth. Moffitt Decl.,

Exh. U (6/29/15 Edmiston Dep.) at 34:6-22. Specifically, Edmiston testified that he “took it upon

himself to try and record” the conversation that he had with Olcott. Id. Notably, at the time of his

deposition, Edmiston also believed that he was a 3 percent owner of 21 Century Smoking, Inc.

See Dkt. No. 216-2 (SUMF at ¶¶ 75-76) and related Exhibits at Dkt. No. 216-15 (Edmiston Dep.

at 70:7-12) and Dkt. No. 216-16 (Exh. R attaching 21C 63269 - 21C 63271)). However, other

documents revealed by Edmiston at and after his deposition show that Edmiston may have actually

held 2% equity purchase rights through a 2014 Stock Option/Equity Grant from Defendants. See

Dkt. No. 216-2 at ¶¶ 76-77 (SUMF at ¶¶ 76-77 and related Exhibits at Dkt. No. 216-16, Exh. R.

(6/29/15 Edmiston e-mail and agreement, at 21C 63269 - 21C 63271)).

       Defendants’ newly produced documents demonstrate beyond any doubt that both Duke and

Edmiston perjured themselves:

      In an e-mail dated September 10, 2013, Duke told Edmiston that Plaintiffs have a booth
       at the upcoming Sept. 25, 2013 Tradeshow and further stated: “maybe you can record
       them saying something libelous about me, lol.”
      Edmiston responded in an email: “that sounds fine to me. I will go to their booth and
       play dumb about the two names. Will record. And take pics :).”

See Moffitt Decl. at Exh. V. The prejudiced suffered by Plaintiffs as a result of these acts is serious

and obvious. Had Plaintiffs received these e-mails during discovery, they could have used it during

cross-examination of witnesses, promptly amended pleadings (thus avoiding their unsuccessful

motion to leave to amend to include an affirmative defense of “invited defamation” in late 2015),

and also sought summary judgment on this issue, all in undisputable, demonstrable prejudice to

Plaintiffs. Instead, this case was litigated on a false and incomplete record created by Defendants.


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 C.    DEFENDANTS CONCEALED EVIDENCE                           THAT      EXCULPATES
       PLAINTIFFS IN THE DEFAMATION CLAIM

       Edmiston and Duke asserted that there was an attempt to create two recordings at the trade

show, to document allegedly defamatory statements made by Olcott. Edmiston testified that:

“there was an attempt to do two because of the length of the conversation we had with the guy, but

the second one did not take.” See Moffitt Decl., Exh. U (6/29/15 Edmiston Dep. at 30:6-14 and

31:18-22). Edmiston also testified that he only shared the first recording with Duke on October 2,

2013, because there “wasn’t anything” on the second one, it did not work.” Id. at 80:5-23.

       However, Defendants’ June 1, 2018 production shows this testimony is false and Edmiston

perjured himself. Incredibly, these documents include an October 2, 2013 e-mail from Edmiston

to Duke entitled “part two,” which attaches a second recording. See Moffitt Decl. at Exh. W.

This recording, which was withheld from all prior discovery and its existence was falsely denied,

does not contain any of the defamatory statements alleged by Defendants. Approximately a year

later, on October 4, 2014, Edmiston emailed Duke referencing a “second one…we did not get

much good info in this one…we are bad spies. :)” See Moffitt Decl. at Exh. X.

       The prejudice to Plaintiffs is self-apparent.     Defendants continued to prosecute a

defamation claim in bad faith. If a prosecutor had withheld this type of exculpatory evidence on

a material issue, the case would likely be dismissed under the Brady Doctrine, and the prosecutor

sanctioned and subjected to disciplinary proceedings.

 D.    COUNSEL CONCEALED EXCULPATORY EVIDENCE, ALLOWED DUKE AND
       EDMISTON TO PERJURE THEMSELVES AND USED THAT TESTIMONY TO
       SUPPORT A SUMMARY JUDGMENT MOTION

       The newly produced documents show that, in or about September and October 2014, while

Defendants’ motion for leave to add their defamation claim was pending, Edmiston and Duke

exchanged e-mails discussing not only the subject recordings, but also conversations with defense


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counsel concerning same. See Moffitt Decl. at Exh. Y (9/30/14 e-mail exchange between Duke

and Edmiston, with Duke stating that his lawyers wanted to know about the second recording and

wanted Edmiston to send it to them, and Edmiston responding: “recordings did not work-could not

hear any part of the important stuff—I am not a good “spy” :( sorry”); See Moffitt Decl. at Exh. Z

(10/04/14 e-mail exchange between Duke and Edmiston, with Edmiston stating: “You can hear

this recording tomorrow,” and also asking how to get it forwarded if it is too long. Duke responded

by stating “I’m honestly not sure, you could call lawyers directly and play it for them…see if it is

worth the trouble of figuring out?” Edmiston then responded, “[l]et them know I have it.”); See

Moffitt Decl. at Exh. AA7 (01/26/15 e-mail from Edmiston to Duke advising that he had spoken

to Mr. Life: “He was calling for the same questions as prior…wanted the info on the guy I talked

to…was it more than one on the tape…instead of looking at all the data – he is calling to ‘ask old

questions’… I also said I felt it was weird they had to ask again”).8

         Edmiston testified that he not only sent information to Defendants’ counsel but was also

prepped by them for his deposition. See Moffitt Decl. at Exh. U (6/29/15 Edmiston Dep. at 45:18-

46:17). Edmiston testified that in preparation for his deposition, he “walked through what [he]

remembered from the meeting” with defense counsel Travis Life, and explained that Mr. Life had

“a lot of [his] notes and stuff like that I’ve already sent.” See Moffitt Decl. at Exh. BB (Exh. J to

the Edmiston Deposition, in which defense counsel apparently redacted an email conversation

between them regarding Edmiston’s defamation claims and recordings). Defendants’ counsel then

relied upon his perjured testimony for their summary judgment motion. See Dkt. No. 234 at ¶113.



7
  This document was produced by Defendants only in native format, as part of their May 31, 2018 Native
Production and was omitted from their paper production. Plaintiffs’ Control No. 8212.
8
  Defendants’ privilege log fails to document any communications with Edmiston, and now defense
counsel claims that their firm lost all of its own e-mails from the relevant time period. See Moffitt Decl. at
Exh. BBB; Dkt. 253-1 at ¶ 6; Dkt. 253-2 at ¶ 7.

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       The bottom line here is that: 1) Defendants orchestrated the defamation set-up job; 2)

Defendants did not record any defamatory material; 3) Defendants lied under oath about the set-

up job and withheld this information; 4) Defendants’ counsel knew of the second recording’s

existence and content, and had to know it was exculpatory relative to the allegations pled in the

Second Amended Counterclaim; and 5) Defendants’ counsel made no effort to produce this second

recording years ago when they had an obligation to do so. Defendants’ failure to search the

Yahoo.com account, and spoliation of emails from the bduke@21centurysmoking.com email offer

no excuse here, as four of the five emails cited above were to that account, which Defendants were

admittedly capable of producing in 2015, but did not. See Moffitt Decl. at Exhs. V, W, Y, and AA.

 E.    WITHHELD EMAILS CONTAIN MORE UNCLEAN HANDS EVIDENCE: DUKE
       SENT DR’S E-CIGARETTE BATTERY TO CHINA TO COPY IT; DUKE’S WIFE
       BRAGS ABOUT SELLING TO PLAINTIFFS’ CUSTOMERS; AND
       DEFENDANTS FAILED TO SEARCH ALL DEFENDANTS’ EMAIL ACCOUNTS

       In this Court’s June 16, 2014 ruling, it held that Defendants were the senior user, but

refused to grant partial summary judgment cancelling Plaintiffs’ federal trademark registration for

21ST CENTURY SMOKE®, and made no ruling on any other aspect of this case. Dkt. 80. The

Court found that there was, even at that early stage, sufficient evidence presented as to multiple

contested issues, which, if accepted by the fact finder, would constitute the equitable defense of

unclean hands on the part of the Defendants barring them from any relief in this action.

Defendants’ June 1, 2018 Paper Production and their misconduct outlined herein is relevant and

material evidence on the issue of unclean hands.

       Defendants have mislead the Court as to the nature of its June 16, 2014 ruling. Defendants’

counsel suggested that the Court was on the verge of granting complete summary judgment in their

favor as to all issues in the case, and suggested that the Court only held off so as to allow discovery

regarding the sole issue of whether there was a “smoking gun” documenting that Kirti Saraswat


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alone put Plaintiffs’ trademark in Defendants’ metatags. See, e.g., Dkt. 253 at p. 7. However,

Plaintiffs’ theory of Defendants’ unclean hands is based on all of Defendants’ misconduct before

and during the litigation and is not limited to the “metatags issue.” See Dkt. 233 at p. 23.

         Among the multiple reasons9 the Court gave in refusing to cancel Plaintiffs’ federal

trademark registration, it found ample evidence that supports Plaintiffs’ equitable defense of

Defendants’ unclean hands. On this point, the Court stated as follows:

         Moreover, although 21 Century Smoking filed its counterclaim to cancel DR
         Distributors’ mark within the required legal time frame, it did not do so until it had
         been sued by DR Distributors for infringement. It never petitioned to cancel DR
         Distributors’ mark before the TTAB, even though it was denied registration of its
         own mark on account of the existence of DR Distributors’ mark. Based on that
         delay and the other evidence in the record, a jury could reasonably conclude that
         21 Century Smoking was content to profit from the success of DR Distributors’
         junior use until 21 Century Smoking found itself sued for infringement, and only
         then moved to cancel the junior mark in an effort to fend off liability.

Dkt. No. 80, Order at p. 7. Not surprisingly, Defendants’ June 1, 2018 Paper Production revealed

multiple additional instances where Defendants were content to profit from Plaintiffs’ success, and

actively sought to do so and even modify their e-cigarette product to be interchangeable with

Plaintiffs’ product – a fact that was never before disclosed.

         Defendants’ 2018 production contains a May 24, 2012 Duke e-mail exchange with his

Chinese manufacturer, Frank Gu, which occurred nearly two years after Duke became aware of

Plaintiffs’ 21ST CENTURY SMOKE® product. See Moffitt Decl. at Exh. CC. For the first time,

Plaintiffs learned in this May 2012 e-mail exchange that Duke advised Gu that Defendants were

being contacted by “a lot” of Plaintiffs’ customers. Id. Duke stated he was sending Gu the battery



9
  In addition to Defendants’ failure to take legal action until suit was filed against them, and their use of
Plaintiffs’ trademark in their website, this Court also found that, with regard to the Defendants’ contacts
with a distributor named Donald Kunz, this too is “additional evidence on the record that, if accepted, would
support a finding of unclean hands” and evidence of Defendant attempting to “appropriate the goodwill or
reputation generated by the trademark of its competitor for its own profit.” Dkt. No. 80, Order at p. 7.

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component of Plaintiffs’ 21ST CENTURY SMOKE® e-cigarette, so Gu could design a battery for

Defendants with threads that would be compatible with Plaintiffs’ product, which Defendants

could then sell to Plaintiffs’ customers who contacted them. Id. There can be no clearer evidence

than Defendants’ own written words that this Court’s suspicions were correct that Defendants were

content to appropriate the goodwill and reputation of Plaintiffs and to profit from Plaintiffs’ efforts.

        Prior to Defendants’ March 19, 2018 production, Defendants claim to have had Duke “re-

search” his brentduke@yahoo.com email account to locate an e-mail exchange between Duke and

Gu which was placed in issue in the Plaintiffs’ Summary Judgment briefing, and which had been

produced by Defendants with obvious pages missing. To date, Defendants and their counsel have

offered no explanation as to why the entire above-referenced May 24, 2012 e-mail exchange with

the same person, Mr. Gu, from the same e-mail account they claim to have searched, was not also

produced on March 19, 2018. What possible credible explanation can there be for such selective

production? Applying Occam’s Razor, the simplest answer is: Defendants and/or their counsel

decided it would be devastating to their arguments regarding the case-dispositive issue of their

unclean hands, and intentionally withheld it.

        As a further example of their misconduct, Defendants’ June 1, 2018 Paper Production also

contains a February 4, 2012 e-mail exchange between Brent Duke and Laurie Duke, using their

respective Yahoo.com e-mail accounts. See Moffitt Decl. at Exh. DD. In that email, Laurie Duke

reports that she “had a $220 sale from a 21st Century Smoke customer, highly discounted but big

sale…gave her a deal, and she’s going to refer all kinds of people to us.” Id. Again, this improperly

withheld document is in stark contrast to Defendants’ denials that they ever tried to steal any of

Plaintiffs’ customers. See, e.g., Dkt. 234-9 (Defendants’ 3/19/18 Response to Plaintiffs’ Statement

of Undisputed Material Facts) at ¶¶ 112-13. It is clear from this and other emails that Defendants



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have never searched or produced all relevant email accounts of its employees, such as Laurie Duke

and Brandon Duke, who were listed in Defendants’ Rule 26 disclosures.

 F.    DEFENDANTS’ CONCEALED KEY AND HIGHLY RELEVANT EVIDENCE
       ABOUT THEIR MARKET PENETRATION AND DAMAGES

       Defendants have relied upon their early on-line sales of e-cigarettes to support their market

penetration and damages claims which are central to their common law trademark claim. See, e.g.,

Defendants’ March 19, 2018 Response Brief, Dkt. No. 233 at p. 12. In their brief, Defendants tout

a “significant month to month growth rate” upon their entry into the market. Id. at p. 16.

Defendants’ market penetration expert, David Haas (“Haas”), opined that “21CS’s average

monthly online sales in approximately 9 months of 2009 sales were approximately $4,100.” See

Dkt. No. 216-20 (Haas Expert Report at p. 13, note 25). Haas also claims that the Defendants’ on-

line sales were $27,634.00 in the first quarter of 2010. The new documents tell a different story

and show that Defendants’ and their counsel concealed and intentionally withheld portions of their

online sales reports that show their claims are false.

       Defendants’ newly produced documents contain a summary of their on-line sales data that

was not included in Defendants’ pre-2018 production, which can only have been intentionally

removed from same prior to production to Plaintiffs. The Court should compare and contrast 21C

0431-0454 from Defendants’ earlier production with 21C 1005533-1005558 from Defendants’

2018 production -- Exhibits EE and FF, respectively, to the Moffitt Decl. The version produced

in June 2018 is identical to the sales summary produced during discovery except that it contains

two additional pages which directly contradict Defendants’ arguments on their sales and

growth, and their own expert’s opinions. The missing pages of the online sales data report are

the first and second pages of the version produced in 2018, which reflect a summary of the online

sales data. This data could have only been purposely removed from the prior production as it is


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the first two pages of the report. Specifically, the first page of the newly produced document (See

Moffitt Decl. Exh. FF at 21C 1005533) is a February 10, 2013 e-mail from

support@21centurysmoking.com to brentduke@yahoo.com titled “lawsuit – monthly sales

including online.” The second page of that document (21C 1005534) purports to reflect monthly

on-line sales from August 2009 through January 2013 (“Missing On-Line Sales Data”).

       Remarkably, the withheld data directly contradicts what both Defendants and their expert

have claimed about their early on-line sales figures to try and meet their burden in establishing

market penetration in some market in the U.S. It depicts generally decreasing sales in 2009

beginning with $4,417 in August 2009, moving downward to $2,874 in October 2009; and $1,294

in November and $2,015 in December. Id. at 21C 1005534. The withheld summary pages also

demonstrate that Defendants’ online sales from January through March 2010 totaled only $13,796,

or approximately half (or 50% less than) the amount relied upon by Defendants’ expert.

       In a common law trademark case such as the one pursued by Defendants, establishing

market penetration in specific geographic territories is an essential element to recovery. In this

case, Defendants had modest sales and relied upon an alleged trend of increasing “on-line sales”

to justify their nationwide market penetration theory. To make these false arguments, they misled

the Court and Plaintiffs by holding back two of the key pages of a summary report prepared by

Defendants back in 2013 and e-mailed from support@21centurysmoking.com (Laurie Duke) to

Brent Duke at his Yahoo.com account, with all of the pages attached when originally emailed in

2013. They then produced only a part of the summary report and relied upon their fudged data to

support an essential element of their case, and they gave the inflated sales and growth data to their

market penetration expert. But the problem is: None of it was true! It does not take much

imagination to pinpoint how having this data would have changed Plaintiffs’ counsel’s cross-



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examination of the Defendants’ market penetration expert at his deposition, not to mention the

theories, strategies and subsequent potentially dispositive motions that were filed by both parties

relying upon this incomplete and false data. This is yet another example of Defendants’ egregious

litigation misconduct and the prejudice visited upon Plaintiffs in this case.

 G.    DOCUMENTS SHOW DEFENDANTS’ FALSE CLAIMS ABOUT EFFECT OF
       METATAGS ON SEO RANKING, DUKE’S KNOWLEDGE OF SEO AND HIS
       DESIRE TO MISUSE OTHER COMPETITORS’ TRADEMARKS

       Defendants admit that Plaintiffs’ registered trademark, 21ST CENTURY SMOKE®, was

present in the metatags of Defendants’ website from approximately October 1, 2011 to March 31,

2013. Defendants argue that it had no effect and did not result in any damages, that they gained

no advantage, and they had no motive to insert Plaintiffs’ trademark in their website. Dkt. 215 at

¶¶ 73 and 76; Dkt. 218-26 (5/13/16 Brown SEO Dep.) at 181:17-183:6, 258:5-260:23. They base

this on Duke’s false assertion in his deposition that he had, in 2009 or 2010, been told by his friend

from Stanford University that search engine algorithms no longer placed any value on the keyword

metatag field in a website for search engine rankings. Duke testified that his friend, Otis Chandler

-- who Duke characterized as an expert on SEO because Chandler had sold his internet business

to Amazon -- had long ago told Duke that keyword metatags did not affect search rankings and

did not matter. See Moffitt Decl. at Exh. T (6/17/15 Duke Dep.) at 272:11 – 277:15.

       Duke further testified: “I never did anything with meta tags until reading [the Hewes]

declaration and removed the meta tags. Other than that, I never touched the meta tags because,

as I stated previously, it was my understanding from my friend who’s very successful in text

base [sic], they weren’t all that important. So I really stopped paying attention to them.”

See Moffitt Decl., Exh. GG (6/23/15 Duke 30(b)(6) Dep.) at 163:23 – 164:5. Defendants’ SEO

expert, Brian Brown, quoted this false Duke testimony verbatim in his report, in arguing that

keyword metatags were not used by search engines for ranking purposes. Dkt. 218-29 at p. 45.
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       The reality as revealed by Defendants’ June 1, 2018 Paper Production is that, for the past

three-plus years, Defendants have improperly concealed an April 8, 2009 e-mail exchange between

Otis Chandler and Duke, which Duke immediately forwarded to Kirti Saraswat, that contradicts

his deposition testimony. See Moffitt Decl. at Exh. HH. In the subject 2009 e-mail string,

Chandler gave Duke express instructions on how to enhance his website metatags for SEO

optimization purposes, so as to improve their search engine rankings. Id. Specifically, in direct

contrast to Duke’s false testimony that Chandler had told him keywords no longer mattered,

Chandler’s e-mail, entitled “titles and description,” expressly instructed Duke to: “Make sure you

have really good meta-descriptions and titles,” and gave Duke a link to the 21centurysmoking.com

website metatags so that Duke could review same. Id. (Emphasis added). Contrary to Duke’s

testimony that he did not have the skills to implement Chandler’s recommendations, Duke

responded that he would take Chandler’s advice and personally modify his website. Id.

       As if all the foregoing were not disturbing enough, Defendants’ concealment of the

exchange with Chandler did not end there. On the night of March 19, 2018, the deadline for

completion of summary judgment briefing, Defendants purported to produce, for the first time, all

“relevant” e-mails with Kirti Saraswat. See Moffitt Decl. at Exh. A. Defendants then relied on

those belatedly-produced Saraswat e-mails in their briefing, and misrepresented to the Court that

Defendants had no further communications with her after April 30, 2010, and out-right mocked

the notion that she could have been involved in inserting Plaintiffs’ trademark into Defendants’

website’s metatags. Dkt. 233 at p. 24, 234-1 at ¶ 4, and 234-2 at ¶ 2.

       In reality, the Defendants’ production on March 19, 2018 when compared to the June 1,

2018 Paper Production show Defendants once again intentionally withheld most of the Saraswat




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e-mails that hit Plaintiffs’ ESI search terms, and intentionally withheld the above referenced e-

mail exchange with Chandler, which had been forwarded to Saraswat. Moffitt Decl. at ¶¶ 4-5.

       These emails reveal the lack of truthfulness by Defendants and counsel as to key issues in

this case. The emails belie Duke’s testimony and show that Duke did believe, and was advised by

his friend and internet guru, that the keywords do make a difference for SEO. His motive in

concealing these emails is obvious – he wants to defend the consequences of his misuse of

Plaintiffs’ trademark and avoid having fabricated claims dismissed. Not only did Duke conceal

these emails, he committed perjury and fabricated a story about what he knew from his guru friend

about the impact of keywords on SEO. He also provided this false story to his SEO expert, Brown,

who relied on this at his deposition. Dkt. 218-26 (5/13/16 Brown SEO Dep.) at 181:17 – 183:6.

       Also, Brown argued that Duke was not capable of inserting Plaintiffs’ trademark in his

website. Dkt. 218-29 (3/25/16 Brown SEO Report) at pp. 13-23. However, these new emails from

Duke with his guru and his SEO consultant show Duke had a deep knowledge and understanding

of how the keywords worked and SEO in general and, critically, he admits the ability personally

modify his website to insert data -- such as Plaintiffs’ trademark. See Moffitt Decl., Exh. A, at

21C 63527-63529. One need only review the statements made by Duke in his own withheld emails

to see he had the knowledge and skill to insert Plaintiffs’ trademark into his website.

       The recent production also reveals Defendants’ explicit strategy of misusing competitors’

trademarks in their digital marketing to mislead consumers – a central issue in this case.

Defendants’ June 1, 2018 Paper Production also contains a January 29-30, 2012 e-mail exchange

using Duke’s Yahoo.com account, between Duke and his employee Robert Hough, who assisted

with IT and SEO issues. See Moffitt Decl. at Exh. II. They discussed in detail ways to take

advantage of the trademarks of other, more popular e-cigarette products, while trying to avoid



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“suspicion.” Id. These emails go to the core issues and show Duke was involved in SEO issues,

was willing to engage in deceptive tactics, and manipulated SEO related issues. On and before

March 19, 2018, Defendants and their counsel knew that thousands of Yahoo.com e-mails such as

this existed and had not been produced, yet they concealed that fact as there is zero mention of

these other 15,866 pages in their Response Brief filed on March 19, 2018.

 H.    EMAILS FURTHER CONFIRM DUKE COMMITTED PERJURY BY
       CONCEALING HE WAS CAPABLE OF PLACING PLAINTIFFS’
       TRADEMARK IN DEFENDANTS’ METATAGS

       Documents produced for the first time by Defendants on June 1, 2018 reveal that, in order

to conceal the true scope of his computer and website coding skills, and to conceal the fact that he

was more than capable of placing Plaintiffs’ trademark in Defendants’ website metatags in 2011,

Duke falsely testified that he did not perform any “Website Design and Development” work in or

about 2008. Duke also falsely denied performing such work as a representative of Webrecsol.

Duke also concealed the identity of his client for that work.

       At all times prior to the June 1, 2018 Paper Production, Duke’s client when he worked for

Webrecsol was known to Plaintiffs only as “Bryan Scott” of “Chicago’s Best Cleaning Co.” as

shown in documents Defendants produced during discovery. Despite extensive questioning of

Duke about the subject Website Design and Development work and Scott, Duke made false

statements about Scott, Scott’s relationship with Defendants, and concealed the nature and scope

of the work they did together in 2008 and thereafter. Recently-produced emails between Duke

and Scott reveal that Duke did, in fact, perform website development work for “Scott,” who

Plaintiffs now know was Defendants’ Director of Sales and Marketing, holding that position at

the time this litigation was commenced through at least February 2013. Cf. Duke Deposition

Testimony on June 17, 2015 (Moffitt Decl., Exh. T (6/17/15 Duke Dep.) at 396:6 – 398:4).



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       Duke was then shown a document he produced that was identified as Exhibit 15 to his

deposition, which contained two versions of an October 16, 2008 proposal entitled “Chicago’s

Best Cleaning Co. Website Design and Development,” both with a client contact of “Bryan Scott.”

See Moffitt Decl., Exh. JJ (6/17/15 Duke Exh. 15). Both documents bear Webrecsol’s letterhead,

which lists Duke’s W. McLean address in Chicago as Webrecsol’s United States address. Id. The

company contact is listed as “Brent Duke” in both, and they list his phone number and e-mail

addresses of brent@webrecsol.com or info@websrecsol.com. Id. at 16796 and 16805. The first

document states that the client wanted to develop a website, and that Webrecsol and Duke were

providing pricing for “HTML type ads, static site (5-10 Pages) as well as for dynamic site (E-Book

web site).” Id. at 16790. The other document stated: “Bryan Scott is interested in designing and

developing a website catering to customers in the local Chicagoland market, while also creating

an E-Book section, which will be more general in focus.” Id. at 16798. Although confronted with

the forgoing, Duke testified that he did not recognize the document as a company document, was

evasive as to its existence or that he ever worked for Webrecsol or offered SEO and website

services and he failed to explain that “Bryan Scott” was “Bryan Scott Kos” who was his Director

of Sales and Marketing. See Moffitt Decl. at Exh. T (6/17/15 Duke Dep.) at 398:5 - 402:5.

       Prior to the June 1, 2018 Paper Production, Defendants’ document productions were devoid

of any e-mails regarding the work Duke did on that website, or his relationship with “Scott.” As

detailed below, and in direct contradiction to Duke’s sworn testimony, the recently-produced

emails reveal for the first time that: (1) “Bryan Scott” is actually named Bryan Scott Kos; (2) Duke

did, in fact, do the work for Scott/Kos on the latter’s website and eBook, while Duke was working

for Webrecsol; (3) Duke admitted in a February 2010 letter that he had met Kos when Duke was

working on Kos’ website; (4) Kos became Defendants’ “Director of Sales and Marketing” in mid-



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2012 and held that position when this action was filed in September 2012 and through at least

February 2013, but was not identified in Defendants’ Initial Disclosures as either “Scott” or his

real name;10 (5) Kos was involved in sales and marketing for Defendants and did some SEO work

for Defendants, including while Plaintiffs’ trademark was in Defendants’ website metadata; and

(6) Kos is a convicted felon and Duke knew him before and after his incarceration.

        Duke’s work on the website and eBook for Kos in 2008 - 2009 is now evident from the

documents contained in Defendants’ June 1, 2018 Paper Production. For example, in a January 8,

2009 CHAT-like discussion between Duke and Saraswat of Webrecsol, she asked Duke to send

her “that Bryan money.” See Moffitt Decl. at Exh. KK. Saraswat then asked Duke if she could

see “that flyr site” which Duke had made so she could check his work, and Duke described how

he had created same. Id. On July 24, 2009, “Bryan Scott” asked Duke to review the eBook

document referenced in the Webrecsol proposal. See Moffitt Decl. at Exh. LL and see Moffitt

Decl. at Exhs. MM, NN, and OO. On October 7 and 9, 2009, Duke and “Brian Scott” exchanged

various .html files regarding the subject website. See Moffitt Decl. at Exhs. PP, QQ, RR and SS.

        In an October 11, 2009 exchange, Duke further detailed his personal website coding skills

and work and attached the eBook.doc and told “Scott”: “I’m working on getting the final product

to matchup to what im seeing in the program… it is going to take a lot of individual editing… not

a problem though… and going to link ebook on thank you page from paypal, this should work

just fine … give me more finishing touches and we are ready to roll.” See Moffitt Decl. at Exh.

TT (Emphasis added). Contrary to his sworn deposition testimony, on February 6, 2009, Duke

wrote a letter to “Scott” in which he expressly stated: “Can you believe this all started with us



10
  In their subsequent February 15, 2013 answers to Interrogatories, Defendants added the name “Bryan
Kos,” but did not state that he worked for Defendants was their Director of Sales and Marketing, or in any
way suggest he was one in the same as “Bryan Scott.” See Moffitt Decl. at Exh. ZZ.

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meeting about making a website for your cleaning business?” Moffitt Decl. at Exh. UU, at 21c

1001079. (Emphasis added). The letter was written to “Scott,” whose real name is Bryan Scott

Kos, who was serving time in federal prison for stock fraud. See Moffitt Decl. at Exh. VV.

       The deception and attempt to hide his website coding skills and relationship with Kos did

not end there. Duke also failed to mention that in mid-2012, Kos became Defendants’ “Director

of Sales and Marketing,” as identified in his company email signature block sent from his recently

revealed bryan@21centurysmoking.com account. See, e.g., Moffitt Decl. at Exh. WW. Kos held

that title in September 2012 when this case was filed, on November 26, 2012 when Defendants

served their Initial Rule 26 Disclosures, and on December 6, 2012 when Defendants’ counsel

provided further information about the specific knowledge possessed by the person identified in

their Initial Disclosures. See Moffitt Decl. at Exhs. XX and YY. Kos was not identified by

Defendants or counsel in their disclosures, even though Kos would continue to work for

Defendants through at least mid-February 2013, at which time his title was Director of Sales. See

Moffitt Decl. at Exh. AAA. As part of a scheme to conceal Kos’s identity and relationship with

Defendants, Defendants never searched or produced any emails from their Director of Sales and

Marketing using his company email account during this entire case. Incredibly, the “report”

Defendants’ just filed on January 22, 2019 disclosing the loss of their entire ESI Data Set shows

that one of the four drives that was imaged by their vendor was from Kos’s company computer –

confirming beyond any doubt that Defendants and their attorneys knew who this person was and

that he had a key role with Defendants. See Dkt. No. 288 at PageID #12861.

       One of the central issues in this case is the parties’ respective market penetration, with sales

and marketing being two of the most important factors. Yet, Duke concealed “Scott’s” identity,

never identified him as a Defendants’ executive, never searched his emails and withheld dozens,



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if not hundreds more, emails documenting Scott/Kos’s role in selling and promoting Defendants’

products. Moreover, a June 4, 2012 e-mail from Duke to Kos shows that Kos also worked with

Duke on SEO, and personally added links and keywords to a press release to be used to generate

backlinks to Defendants’ website for SEO purposes. See Moffitt Decl. at Exh. WW.

       The above shows that Duke, with assistance of counsel, repeatedly committed a fraud on

this Court through his perjury and false declarations as now confirmed through the production of

these and other documents from Duke’s Yahoo email account. Both Mr. Leavens and Mr. Life

certified to this Court on May 14, 2018 that they knew before, and on, March 19, 2018 that Duke’s

Yahoo email account had not been searched. Dkt. 253-1 at ¶ 10 and Dkt. 253-2 at ¶¶ 11-13,

respectively. Yet, they did not disclose to the Court or Plaintiffs that they knew the search had

never been done when they filed their Summary Judgment briefing on March 19, 2018. They did

not disclose on the night of March 19, 2018 at 8:30 p.m. that Duke’s email account had not been

searched, when counsel for Defendants, Peter Stamatis, emailed counsel for Plaintiffs and

produced 112 pages of new documents stating that they represented the full set of newly discovered

emails and were not “relevant to any claim, other than that they belie any assertions of withholding

unfavorable documents.” See Moffitt Decl. at Exh. A. Defendants and their counsel did not

disclose on March 19, 2018 that the Duke Yahoo account was not searched or that the 112 pages

produced were only a hand selected batch of documents from over 15,000 pages of documents.

They did not disclose it when they affirmatively used this hand-selected 112-page production to

incorporate into their summary judgment arguments while drafting and working on their briefing

in the days before the March 19, 2018 filing deadline -- when they were in possession of these

documents and knew the Yahoo account had not been searched. They did not disclose it to the

Court or the Plaintiffs in the pleadings they filed with the Court on March 19, 2018 seeking



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summary judgment in their favor and pursing tens of millions of dollars in damages. Despite

certifying that they knew before March 19, 2018 that the Yahoo emails were not produced, they

intentionally withheld that information from the Court and Plaintiffs and used the cherry-picked

documents to oppose Plaintiffs’ motion. See, e.g., Dkt. 233 at p. 24.

 I.    DEFENDANTS OFFER NO EXCUSE FOR WITHHOLDING 2,600 E-
       MAILS SENT “TO” BDUKE@21CENTURYSMOKE.COM ACCOUNT

       Defendants falsely assert that the only problem with their prior productions -- other than

their admitted spoliation of the contents of the two “GoDaddy” e-mail accounts

(bduke@21centurysmoking.com and support@21centurysmoking.com) “sent” boxes -- is that

they did not know that their search of imaged hard drives from Defendants’ company computers

would not capture e-mails residing in Duke’s internet-based brentduke@yahoo.com account. Dkt.

253 at p. 2. Defendants previously represented that e-mails sent “to” and “from” their two

company GoDaddy e-mail accounts, were located on the hard drives imaged in 2014, and were

properly searched and produced back in early 2015. Dkt. 253-1 at ¶¶ 8-11; Dkt 253-2 at ¶¶ 3-6,

11-13. In addition to the lost and spoliated “chat” data and other relevant emails accounts and

documents that were never searched or produced in this case, the data and documents in

Defendants’ June 1, 2018 Paper Production shows that these representations about the spoliation

of “sent” emails from the Go Daddy email accounts are false.

        Defendants fail to explain, among other things, why their June 1, 2018 Paper Production

was the first time they produced thousands of incoming e-mails addressed not to the Yahoo.com

account, but rather “To” Duke at his bduke@21centurysmoking.com account, as well as outgoing

e-mails from that account to the extent they were responded to by the sender and ended up back in

that inbox, all of which contain Plaintiffs’ November 2014 ESI search terms. In fact, a search of

the “To” field of the ESI version of Defendants’ recent production reveals 1,751 such emails


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addressed to bduke@21centurysmoking.com, with that address being “CC’d” on another 780 e-

mails, for a total of 2,531 e-mails for which Defendants have offered no explanation whatsoever

as to why they withheld these documents from their prior productions. See Moffitt Decl. at ¶61.

        Defendants claim, as they must, that they long ago ran Plaintiffs’ ESI search terms against

that bduke@21centurysmoking.com account, and they have never claimed any alleged “auto-

purging” of emails sent “To” the “inbox” of that account. Duke repeatedly testified that he never

deleted any e-mails. Dkt. 216-12 (6/17/15 Duke Dep.) at 348:4-5. As such, all of these thousands

of recently-produced e-mails addressed “To” Duke at bduke@21centurysmoking.com should have

been produced previously from that account, without regard to the alleged duplicates of same

recently produced from the brentduke@Yahoo.com account. Defendants have represented in this

litigation that they long ago ran Plaintiffs’ ESI search terms against all of the emails in the

bduke@21centurysmoking.com account and produced those documents in full. Given the emails

contained in the June 1, 2018 Paper Production, they must now admit that they ran Plaintiffs’ ESI

search terms in December 2014 or early 2015 and got the same search results at that time from the

bduke@21centurysmoking.com email account, and then intentionally withheld the entire

production of the same documents. There can be no other conclusion from a detailed analysis of

the prior production against the documents contained in the June 1, 2018 Paper Production.

        As just one example, most of the 2013 and 2014 e-mails recently produced by Duke

relating to Duke and Edmiston’s previously undisclosed secret plan to invite and record

conversations at the September 2013 Trade Show in Las Vegas, and their subsequent e-mails

regarding the content of multiple recordings taken at same which they thereafter falsely swore did

not exist, were addressed by Edmiston “To” Duke at his bduke@21centurysmoking.com inbox,

and not at the Yahoo.com account. See Moffitt Decl. at Exhs. V, W, Y, AA. There can be no



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dispute, based on Defendants’ excuses offered to date, that those “smoking gun” emails, which

document perjury on the part of Duke and Edmiston, have been sitting in Duke’s

bduke@21centurysmoking.com “Inbox” – not his allegedly auto-purged “Sent” folder -- since they

were written in 2013 and 2014. This occurred before Defendants’ claim to have imaged the hard

drives in December 2014, and to have searched same with Plaintiffs’ ESI search terms. Defendants

offer no explanation whatsoever as to why those critical documents were withheld during

discovery since early 2015. They instead mislead the Court with irrelevant discussions of their

failure to search a wholly-separate Yahoo.com email account which contains duplicate copies of

those e-mails sent “To” bduke@21centurysmoking.com, and by making scurrilous claims of

“auto-purging”    of    the    “Sent”    folders     of   bduke@21centurysmoking.com          and

support@21centurysmoking.com which are also demonstrably false as detailed herein. Any

excuses for their failure to produce e-mails “Sent” by Duke have nothing to do with their failure

to produce thousands of documents now known to exist, which were addressed “To” those email

accounts and were sitting in the “Inbox” that was housed on the hard drives of the Defendants’

computers that were allegedly searched as part of the ESI process long ago.

       As such, Defendants further mislead the Court when they now represent that:

       To correct this, 21CS then engaged its e-discovery vendor to search that [Yahoo.com]
       e-mail account using the same search terms the parties had agreed to previously and
       thereafter located additional documents. New documents have been identified. With
       the Court’s permission, 21CS will make them available to Plaintiffs.

Dkt. 253 at p. 2. At the August 14, 2018 hearing, Mr. Stamatis argued: “I would like to just take

a step back if I could. And during the summary judgment briefing, we discovered more

documents, and that led us to look deeper, and what we’ve done in this case, what you are

supposed to when you discover new documents, that’s disclose the documents, and that’s what

we have done.” Dkt. 267 at p. 47.

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        However, these are, in fact, not “new” documents and Defendants should not be

commending themselves for concealing these documents for three years after discovery closed,

and after they tried to get away with having the Court grant summary judgment without ever

disclosing their alleged “discovery” of these documents and subsequent production on June 1,

2018.    The     thousands   of   e-mails    Edmiston     and    others    sent   “To”    Duke’s

bduke@21centurysmoking.com account are not new, have been in Defendants’ possession for

years and should have been produced when Plaintiffs’ ESI terms were applied to that account.

These bduke@21centurysmoking.com e-mails were, according to Defendants, on the hard drives

imaged in December 2014, likewise hit Plaintiffs’ ESI search terms in 2014 and 2015 when that

account was searched on the hard drives -- yet were intentionally concealed until June 1, 2018.

 J.     DEFENDANTS’ FALSE “AUTO-PURGE” EXCUSE IS BELIED BY THEIR
        PRE-2018 PRODUCTION OF EMAILS

        In an attempt to excuse some of their misconduct, Defendants claim that, from the time

support@21centurysmoking.com and bduke@21centurysmoking.com email accounts were

created in 2009, they were set to “auto-purge” all “sent” e-mails from those accounts after 6

months. Dkt. No. 234-2 at ¶ 4 and Dkt. No. 253 at p. 12. Defendants refer to these e-mail accounts

as the “21CS’s GoDaddy e-mail accounts” and claim the “auto-purge” only applied to the “sent”

emails and not that any incoming e-mails in the “in” boxes of those two accounts were ever “auto-

purged.” Defendants concealed this alleged “auto-purging” for approximately four years, until

March 19, 2018, when, on the last day of summary judgment briefing, they provided a Declaration

from Duke, revealing for the first time that Duke had “discovered” this alleged fact back “in or

around 2014.” Dkt. No. 234-2 at ¶ 4. Duke’s Declaration states: “In or about 2014, I first learned

that the default settings for the provider of 21CS’s email server, GoDaddy.com, automatically




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deleted email sent from its @21centurysmoking.com email addresses after a short period. As soon

as the provider settings were discovered, the settings were adjusted to save all sent email.” Id.

       Defendants have yet to provide any other information as to this alleged discovery and its

aftermath, or disclosed when Duke told his attorneys or his ESI vendor about this. Defendants

have not disclosed who changed the default settings on the GoDaddy email accounts and instituted

the alleged “auto-purging,” or disclosed that they have attempted to obtain their own account

records that would disclose who and when such changes were made to their email accounts. For

instance, in their May 14, 2018 brief in which they were ordered to explain their discovery failures,

Defendants stated only the following regarding the alleged “auto-purging”:

       As a result of its investigation of the charges in Plaintiffs’ Motion for Summary
       Judgment, 21CS’s current counsel discovered that outgoing email from 21CS’s
       Godaddy        email       accounts,       support@21centurysmoking.com        and
       bduke@21centurysmoking.com, had been “auto-purged” by GoDaddy after an
       approximately six-month period. 21CS believes that this setting was in place since
       2009, years before any threatened or actual litigation.

Dkt. 253 at p. 12. (Emphasis added). This does not address Duke’s alleged discovery in or about

2014, and adds nothing to what was stated in Duke’s March 19, 2018 Declaration. Moreover, the

above limitation as to what Defendants’ “current counsel” discovered and when, raises the

question as to who exactly on the Defendants’ legal team they are trying to distance themselves

from? Defendants have had the same counsel of record from the outset, with the addition of Mr.

Stamatis on June 8, 2015. What is not explained, is when Duke made his discovery, what he did

in response to same other than allegedly turning off the “auto-purging,” who he told about it and

when, what efforts were made at that time to recover “purged” e-mails, and why Plaintiffs’ counsel

was not informed of the alleged discovery prior to March 19, 2018. The only other comments by

Defendants in their May 14, 2018 brief regarding the alleged “auto-purging” are:




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       Further, although 21CS was told that it had to retain all documents, including email, and
       it had every incentive to do so after the litigation commenced, it apparently did not
       review the Godaddy “auto purge” settings at that time. This was reasonable because
       21CS was not even aware that “auto purge” was deleting the email.

Dkt. 253 at p. 14. Again, this adds nothing and answers none of Plaintiffs’ questions as set forth

above. It is noteworthy that, although Defendants’ counsel discusses that of which “21CS” was

allegedly aware, Defendants failed to provide a Declaration from Duke or any other 21CS

representative in support of their May 14, 2018 submission.

       The evidence strongly shows that Defendants’ excuse of “auto-purging” of the two

GoDaddy e-mail accounts is a fabrication. If their claims of “auto-purging” were true, they would

not have any “sent” e-mails from either account which were sent more than 6-months before

Duke’s alleged 2014 discovery, when Duke claims he turned “auto-purging” off. Dkt 234-2 at ¶

4. If they were telling the truth, all of Defendants’ e-mails sent from those two accounts in 2009,

2010, 2011, 2012, etc. should all be lost – their 2018 productions confirms this is false.

       In reality, in formulating their latest excuse, Defendants are hoping that Plaintiffs would

not review the entire record which shows that throughout discovery from 2013 through 2015, they

produced more than one hundred “sent” e-mails from the support@21centurysmoking.com

account, which Defendants had authored and sent out between 2009 and 2013. If the Court is to

believe their “auto-purge” excuse – then these documents cannot exist and could have never been

produced. Specifically, a review of Defendants’ 2013 through 2015 productions reveals that Duke

was able to locate and produce the “sent” e-mails they now misrepresent to the Court had already

been “auto-purged” up to three years before the litigation. Moffitt Decl. at ¶¶ 59-60. The year of

authorship, and quantity of those sent e-mails, by year, is as follows: 2009: 11; 2010: 65; 2011:

19; 2012: 6; 2013: 6 (with five of those no later than March of that year). Id.




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       If Defendants’ claim of “auto-purging” were true, then all of these e-mails should have

been deleted at least 6 months before Duke’s alleged discovery “in or about 2014,” as they were

all sent more than 6 months before he allegedly turned off the alleged “auto-purge” function in

2014. All of the 2009, 2010, 2011, and some of the 2012 e-mails would have been deleted before

Plaintiffs’ Complaint was filed and could have never been searched and produced in this litigation.

However, Defendants excuse is inconsistent with the fact that Duke was able, in 2013 through

2015, to personally go into his “sent” email folder for support@21centurysmoking.com and hand-

select documents favorable to his case and withhold damaging emails.

       Duke and his counsel must explain how they were able to produce “sent” e-mails from that

account with the first production in April 2013, including emails Defendants sent out in 2009 and

2010 that could not exist if the “auto-purging” was in place, and why he supposedly did not notice

any alleged “auto-purging” at that juncture. They must also explain how they were able, in 2015,

after his alleged “discovery,” to produce similar documents from the “sent” folder. Defendants

were ordered to provide this Court with an explanation of why they spoliated some documents and

withheld others -- they have instead misled the Court with fabrications.

       Even if the Defendants were telling the truth about the existence of alleged “auto-purging”

of “sent” e-mails, it would not explain their failure to produce e-mails from the “in” boxes of

support@21centurysmoking.com and bduke@21centurysmoking.com email accounts, as to which

they do not claim “auto-purging.” For instance, as detailed in Plaintiffs’ summary judgment

motion, Defendants produced only two, initial incoming e-mails from a consumer named Ms.

Wood, which she had addressed to the support@21centurysmoking.com email account “in” box.

Dkt. 216-2 at ¶¶ 93-95 and Dkt. 216-23 (1/15/18 Moffitt Decl. at Exh. FF). Defendants failed to

produce any of the 11 ensuing e-mails that were exchanged back and forth, in which Ms. Wood



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repeatedly informed Duke that she had bought Plaintiffs’ product and was looking for service as

to same, and in which she became angry when she realized Duke had feigned ignorance as to the

fact she contacted him in error, and had intentionally mislead her into buying Defendants’ product.

Dkt. 216-2 at ¶¶ 96-106 and Dkt. 216-24 (1/15/18 Moffitt Decl. at Exh. GG). Plaintiffs know of

the existence of this intentionally withheld exchange only because Ms. Wood forwarded the e-

mail string directly to Plaintiffs hoping they could do something to stop Duke’s misconduct. Id.

       Defendants now admit that, prior to March 19, 2018, they went back and searched for this

e-mail exchange with Ms. Wood but claim Duke was “unable to locate any emails related to Ms.

Woods,” apparently not even the two initial incoming e-mails which Defendants had produced for

their own purposes, as alleged instances of consumer confusion. Dkt. 253-2 (5/14/18 Life Decl.)

at ¶ 11. Defendants have offered no explanation as to why they supposedly cannot locate the six

(6) incoming e-mails in the subject email string where Wood responded to Duke, which should

still be sitting in Duke’s non-purged “in” box. Dkt. 216-12 (6/17/15 Duke Dep.) at 348:4-5.

Defendants should also be able to locate Duke’s (5) outgoing e-mails to Woods – but they are all

“missing.” Defendants have no explanation that withstands any logical scrutiny.

       For instance, in their March 19, 2018 brief, in a section entitled “21CS Did Not Wrongfully

Withhold Email Communications with Customers,” they argued and certified to this Court only

that: “Plaintiffs complain that 21CS failed to produce responses to one of the numerous customers

who mistakenly contacted 21CS concerning problems with Plaintiffs’ product, in particular,

Barbara Woods.” Dkt. 233 at p. 24. They then simply regurgitated Duke’s claim that he

discovered the “auto-purging” in or about 2014 and turned it off. Id. Defendants did not explain

why Ms. Wood’s e-mails “to” Duke, and every e-mail in the threads pre-dating her responses were

not still located in Duke’s intact “in” box. They have no explanation for this because the real



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answer is that Duke intentionally deleted the Wood emails after they were received and sent, all in

mid-2013, after this litigation was commenced and after Defendants’ counsel claims they gave

Duke verbal instructions not to delete anything and admitting that they never gave Defendants any

written instruction such as a litigation hold letter. Dkt. 256 (5/17/18 Transcript) at p. 20.

       As detailed in Plaintiffs’ summary judgment briefing, the complete Wood e-mail exchange

is exactly the scenario Judge Kapala found could constitute unclean hands on the part of

Defendants. It is evidence that Defendants were content to sit back and not to take any action as

to the alleged infringement, so as to profit from sales to Plaintiffs’ customers. Dkt. 80 at p. 7. In

the subject e-mail string, Duke made it quite clear that he had been caught red-handed doing just

that, and ended up writing full-page, single-spaced hostile responses to Woods. He then apparently

deleted ten of those e-mails from his inbox and outbox, or Defendants are otherwise still

improperly withholding them. Due to their admitted spoliation, Plaintiffs and this Court have no

way to know how many other such exchanges with Plaintiffs’ customers Duke engaged in and then

deleted, both before and after the litigation was pending.

       Defendants also rely on their fabricated “auto-purge” excuse to make arguments to the

effect that all of their “sent” e-mails from the GoDaddy accounts were “auto-purged” before their

duty to preserve arose. For instance, they argue: “There is no question that the lost information is

ESI, much of which was lost well before there was any thought of litigation and, therefore there

was no obligation to preserve it.” Dkt. 253 at p. 14 (Emphasis added).

       As demonstrated above, there was no “auto-purge,” and all of Defendants’ arguments that

documents were “auto-purged” before their duty to preserve arose are false, and are just another

attempt to mislead the Plaintiffs and this Court away from their litigation misconduct. For

instance, Duke’s communications with Frank Gu and Kirti Saraswat, as produced to date, with



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dates ranging from 2009 through 2015 in the case of Gu, and 2009 through 2013 in the case of

Saraswat, were created though the brentduke@yahoo.com email account, or in the case of

Saraswat, also by Yahoo Messenger CHAT application. See Moffitt Decl. at ¶¶ 62-64. Defendants

have not claimed any sort of auto-purging as to the CHAT documents.

       Defendants have misled the Court as to when they believe their duty to preserve arose.

They claim that the duty only arose when Plaintiffs filed their Complaint in September 2012, and

that the documented prior discussion by Duke of filing his own lawsuit was “just a pipe dream.”

Dkt. 253 at pp. 13-14. At the same time, according to their Privilege Log, Defendants are

withholding from production more than twenty (20) documents dated throughout 2011, which they

describe as Duke’s communications with attorneys about litigation and drafting of a Complaint

against Plaintiffs.   Moffitt Decl. at Exh. BBB.     Defendants’ documents confirm that their

obligation to preserve documents and ESI arose well before this case was filed.

 K.    DEFENDANTS OFFER FALSE “AUTO-FORWARD” EXCUSE

       Defendants claim that only those e-mails sent by them from the two GoDaddy e-mail

accounts were allegedly “auto-purged” and thus spoliated. Defendants disingenuously attempt to

minimize their admitted spoliation by assuring the Court that other e-mails received in the inboxes

of those two accounts were “auto-forwarded” to the brentduke@yahoo.com account and were not

spoliated. Defendants represented to the Court as follows:

       Finally, this lost ESI is limited to email sent from either support@21centurysmoking.com
       and bduke@21centurysmoking.com. Responses showing original sent email would still
       be retained. Further, while working with its vendor to search Yahoo Email, 21CS
       confirmed that any email sent to those email addresses was automatically forwarded to
       and is now located on the Yahoo Email account. Therefore, any email responding to a
       now       lost      e-mail      sent      from      support@21centurysmoking.com       or
       bduke@21centurysmoking.com would also be duplicated in the Yahoo email.

Dkt. 253 at p. 14. Based on Plaintiffs’ review of Defendants’ June 1, 2018 production, as well as

their prior productions during discovery, Defendants’ claim of “auto-forwarding” is false. The
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only evidence of any “auto-forwarding” is the existence, in the June 1, 2018 production of

brentduke@yahoo.com emails, of over 2,500 e-mails that were addressed “to” the

bduke@21centurysmoking.com account which, inexplicably, were not produced before June 1,

2018, as detailed above. All of those e-mails are dated in April 2013 or thereafter, so there is no

evidence of any “auto-forwarding” relating to bduke@21centurysmoking.com prior to April 2013.

            As to Defendants’ support@21centurysmoking.com account, there is no evidence of any

auto-forwarding of that account, at any time, to Defendants’ brentduke@yahoo.com account. A

search of the ESI version of the documents contained in Defendants’ June 1, 2018 production, all

allegedly sourced from the brentduke@yahoo.com account, results in hits on only 181

support@21centurysmoking.com emails in that entire production, with 129 of those 181 hits

containing support@21centurysmoking.com in the “From” field. Moffitt Decl. at ¶¶ 66-70.

            Rather than burden the Court with detailed explanations of the falsity of their excuse here,

if        the   Defendants     actually    believe    that   even    a    single    e-mail    sent    to

support@21centurysmoking.com, as contained in their June 1, 2018 production was “auto-

forwarded,” they should come forward with their proof.

     L.     DEFENDANTS AND THEIR COUNSEL CONSCIOUSLY ALLOWED KEY
            DOCUMENTS TO SPOLIATE

            Defendants have provided various reports to this Court which purportedly demonstrate that

they were “doing everything in [their] power” to recover missing Yahoo Messenger Chat

documents. See Dkt. Nos. 268 (Report dated 09/13/18); 273 (Report dated 10/10/18), 278 at 9:11-

15 (Transcript of 10/16/18 Hearing); 288 (Report dated 1/23/19). However, those reports actually

reveal that Defendants allowed the Yahoo Messenger Chat documents to spoliate, along with all

of the other documents that Defendants previously deemed relevant and collected for this case.

This is particularly outrageous as this basic ESI should have been preserved, searched and


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produced years ago, and because, by April 2018, this Court had raised specific concerns about

spoliation, informed defense counsel that any loss of relevant data by their vendor would “go[] to

their client,” and instructed that Defendants make a “really good effort” to investigate, “get a lot

of detail,” and explain their discovery deficiencies. See Dkt. No. 249 at 12:3-23; 23:13-19

(Transcript of April 17, 2018 Hearing). Defendants’ reports fail to demonstrate that they took

reasonable measures to fulfill their discovery obligations concerning the chat documents.

Defendants failed to disclose how they pursued the spoliated data with Yahoo and, despite twice

reporting to the Court that Defendants had not used this account in several years, the information

provided by Yahoo demonstrates otherwise.

       Defendants’ lack of candor is highly dubious, and further evidenced in their most recent

and shocking disclosure – that they have spoliated the very ESI that lies at the heart of the issues

now litigated over the past year. This information was contained in a letter from Defendants’ e-

discovery vendor, 4Discovery, dated 1/18/19. See Dkt. No. 288. Defendants offer no further

comment on the letter or its contents which discloses that all of their ESI was irretrievably lost.

V.     LEGAL ARGUMENT FOR SANCTIONS

       Defendants’ misconduct violates several Rules of Federal Civil Procedure (“FRCP” or

“Rule”). Rule 37 entrusts federal courts with the authority to award sanctions against parties who

engage in discovery violations.      Multiple provisions of this Rule have been triggered by

Defendants’ conduct in this case, including: Rule 37(a)(3)(A) which governs motions to compel

disclosure and for appropriate sanctions; Rule 37(b) which provides for sanctions for failure to

comply with a Court Order; Rule 37(c) which provides for sanctions for failure to timely disclose

or supplement discovery; and Rule 37(e) which governs sanctions for failure to preserve

electronically stored information (“ESI”). Rule 37 also provides for the recovery of the moving

party’s expenses, including attorneys’ fees, resulting from the non-compliant party’s discovery
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violations, and requires the payment of these expenses for certain misconduct. Rule 56(h) also

provides a Court with discretionary authority to sanction an offending party who submits a

declaration in support of summary judgment in bad faith or solely for delay.

        A court is also required to impose sanctions against a party and/or its counsel, pursuant to

Rule 26(g)(3), when he/she falsely certifies that “to the best of that person’s knowledge,

information, and belief formed after reasonable inquiry,” discovery responses are complete and

such disclosures have not been made for an improper purpose. Id. (Emphasis added). Rule

37(b)(2)(c), Rule 56(h) and 28 U.S.C.A. §1927 additionally provide federal courts with the

authority to personally sanction attorneys for their own litigation misconduct. See Rule 37(b)(2)(c)

(expenses incurred as a result of violating a court order); Rule 56(h) (where declaration in support

of summary judgment is submitted in bad faith or solely for delay, the court may hold counsel in

contempt or subject him/her to other appropriate sanctions) and 28 U.S.C.A. §1927 (expenses

payable by attorney who unreasonably and vexatiously multiplies proceedings).

        Beyond Rules 26, 37, 56(h), and 28 U.S.C.A. §1927, federal judges also have the inherent

authority to manage the cases that come before them, issue sanctions for litigation misconduct,

and deny equitable relief to litigants that come to the courts with unclean hands.11 See Chambers

v. NASCO, Inc., 501 U.S. 32, 44 (1991); Hunt v. DaVita, Inc., 680 F.3d 775, 780 (7th Cir. 2012);

United States v. Johnson, 142 F.3d 1041, 1058 (7th Cir. 1998) (Even in the absence of a discovery

order, a court may impose sanctions on a party or attorney for misconduct in discovery under its

inherent power to manage its own affairs where a party acts in “bad faith, vexatiously, wantonly,

or for oppressive reasons.”)(quoting Chambers v. NASCO, Inc., 501 U.S. 32, 45-46, 50 (1991));

Grochocinksi v. Mayer Brown Rowe & Maw LLP, 06 C 5486, 2011 U.S. Dist. LEXIS 71053, *12


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  Similarly, on its own initiative, this Court may issue sanctions pursuant to Rule 11(c)(3), based upon
Defendants’ frivolous pleadings and repeated misrepresentations made in court and filings.

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(N.D. Ill. June 30, 2011); and Gilead Scis., Inc. v. Merck & Co., Inc., 2016 U.S. Dist. LEXIS

73595, at *80-83 (N.D. Cal. June 6, 2016) (reviewing cases barring claims under unclean hands

doctrine for lying under oath, as well as business and litigation misconduct).

       While a Magistrate Judge may not have the authority to issue case dispositive sanctions,

he/she may issue a Report and Recommendation to the District Judge concerning same pursuant

to 28 U.S.C. §636(b)(1)(B). To further understand the scope and extent Defendants’ litigation

misconduct and their counsel’s culpability in withholding and spoliating key evidence, it may

compel additional discovery through an evidentiary hearing and/or forensic examination of

Defendants’ ESI. See Hespe v. City of Chicago, 2016 U.S. Dist. LEXIS 173357, at *12 (N.D. Ill.,

Dec. 15, 2016). This is appropriate in light of Defendants’ and counsels’ selective production of

documents, incomplete and inconsistent explanations, and false claims regarding “auto-

forwarding” and “auto-purging” of relevant documents. However, a comprehensive forensic

examination may be impossible now that Defendants lost their entire ESI.

 A.    DEFENDANTS’ VIOLATION OF THIS COURT’S JUNE 11, 2015, APRIL 17, 2018,
       AND MAY 17, 2018 ORDERS REQUIRES THE IMPOSITION OF SANCTIONS
       UNDER RULE 37(b)

       Rule 37(b)(2)(A) provides for an array of sanctions when a party fails to obey an order to

provide or permit discovery. Under these circumstances, a court may: (a) direct that matters

addressed in the order or other designated facts be taken as established: (b) prohibit the disobedient

party from supporting or opposing designated claims or defenses, or introducing designated

matters into evidence; or (c) strike pleadings, dismiss claims, or enter default, either in whole or

in part. Id. The court may also find that the disobedient party is in contempt of court. Id.

       The sanctions listed for disobedience of a court order are understandably severe and, unlike

other subsections of Rule 37, subsection (b) does not expressly require a finding of prejudice or

harm to the moving party, or bad faith or lack of justification on the part of the disobedient party
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before any of the listed sanctions may be imposed. Contra., e.g., Rule 37(c)(1), 37(d)(3), and 37(e);

see also Halas v. Consumer Servs., 16 F.3d 161, 164 (7th Cir. 1994) (when a party violates a court

order, the non-compliant party’s “culpability only determines which sanctions are appropriate, not

whether they are appropriate at all.”). Even if proof of prejudice to the Plaintiffs and bad faith on

the part of Defendants were required, those conditions have been readily demonstrated in this case.

       It is quite apparent that the Defendants and their counsel did not make a reasonable effort

to comply with this Court’s June 2015 Order. Had they done so, they would have learned - before

discovery closed and years before summary judgment motions were filed – that they had not

identified and searched all relevant document sources. As a result, the parties have been litigating

this case based upon Defendants’ manufactured version of incomplete “facts” for several years.

During that time, Plaintiffs have been deprived of the opportunity to seek additional document and

deposition discovery, conduct meaningful depositions of fact and expert witnesses, timely amend

their pleadings to assert an affirmative defense of “invited defamation,” and prepare motions for

summary judgment based upon facts rather than a record fabricated by defendants.

       One of the key issues raised and hotly litigated by Plaintiffs in 2015, and which resulted in

the June 2015 Order that compelled Defendants’ production of additional documents, was the

concern that Defendants were deliberately withholding information and documents relating to

Defendants’ Misuse of Metatags. See Dkt. No. 126 (Plaintiffs’ Motion to Compel Discovery filed

June 5, 2015). At that time, Plaintiffs argued that there appeared to be missing communications

with Defendants’ SEO consultant Webrecsol, Kirti Saraswat’s employer (including e-mail

communications that we now know would have been found by searching Duke’s Yahoo account).

Plaintiffs’ motion to compel these documents in 2015 also sought missing sales documents. This

Court’s June 2015 Order compelled Defendants to provide all of this information and Defendants



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agreed, at the time of the court hearing on the motion, to provide the documents sought. See Dkt.

Nos. 269 (Transcript of Hearing on June 11, 2015 at 11:6-8) and 132 (Court Order dated June 11,

2015). As detailed above, it is now established that documents that go to the heart of these key

issues -- Defendants’ Misuse of Metatags, related communications with Saraswat, and Defendants’

early on-line sales -- were withheld in clear violation of the Court’s Order and belie defense

counsel’s assurances that they had produced all the documents requested.

        Rule 37(b) expressly contemplates “issue sanctions,”12 which here might reasonably

include a finding that Defendants and/or one of their employees or agents intentionally inserted

Plaintiffs’ Mark in the metadata of Defendants’ website. See Rule 37(b)(2)(i). The Rule also

contemplates a sanction that would prohibit Defendants from arguing that neither they, nor anyone

working on their behalf, caused that to happen. See Rule 37(b)(2)(ii). Not only are these sanctions

appropriate because Defendants failed to properly disclose relevant communications with

Saraswat in violation of the June 2015 Order, they are also warranted because Defendants have:

(a) intentionally misrepresented the scope of communications exchanged with Saraswat; (b)

offered false declarations relative to when she performed work for Defendants; (c) admitted to

failing to collect and spoliating the Yahoo Chat messages; and (d) lied about Duke’s knowledge

and SEO capabilities, and concealed evidence that contradicts his sworn testimony on this topic.

Other “issue sanctions” might reasonably include: (a) an order establishing that Defendants’ online

sales were de minimus and decreasing and prohibit Defendants’ from arguing otherwise – in

response to their intentionally withholding critical information about on-line sales; and (b) a

finding that Defendants stole Plaintiffs’ customers on the basis of the missing emails.



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   See HM Elecs., Inc. v. R.F. Techs., Inc., 2015 U.S. Dist. LEXIS 104100, at * 81-86 (S.D. Cal., Aug. 7,
2015) (recommending issue sanctions and evidentiary and monetary sanctions in light of party’s egregious
discovery misconduct), vacated as moot following settlement, 171 F. Supp. 3d 1020 (S.D. Cal. 2016).

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          Defendants also violated this Court’s recent Orders issued on April 17, 2018 and May 17,

2018.13 Those Orders granted Defendants the opportunity to explain and correct, at least in part,

their discovery deficiencies. See Dkt. No. 249 (Transcript of 04/17/18 Conference at 23:17-19,

where Defendants were given time to provide a “really good” explanation, supported by affidavit,

for their discovery deficiencies) and Dkt. No. 254 (which granted Defendants’ time to produce

documents, weeks after they claimed that they were ready for production). Defendants were given

many months to investigate, explain, and address their discovery deficiencies – years after

discovery closed. Yet, rather than abide by those orders, or even ask for more time to respond,

Defendants: mocked Plaintiffs’ concerns; resisted discovery; and submitted sworn declarations

that are not only evasive and obfuscating, but also contradicted by Defendants’ own documents.

Defendants have also shirked responsibility for their misconduct by blaming their vendor, “auto-

deletion,” errors in their “copying process,” and even Plaintiffs (ridiculously, on the basis that

Plaintiffs should have disclosed Defendants’ discovery violations earlier). Defendants have earned

the severe sanctions expressly afforded under Rule 37(b) or simply a dismissal of their claims and

entry of default against them. Based on the foregoing, this case meets all of the conditions required

for a contempt of court sanction, namely: (1) a court order that sets forth an unambiguous

command; (2) the alleged contemnor violated that command; (3) the violation was significant; and

(4) the alleged contemnor failed to make a reasonable and diligent effort to comply. See Young v.

City of Chi., 2017 U.S. Dist. LEXIS 394, at *13 (N.D. Ill. Jan. 3, 2017).

     B.   RULE 37(c) PRECLUDES DEFENDANTS FROM USING THEIR NEWLY
          PRODUCED DOCUMENTS AND SUPPORTS AWARD OF SANCTIONS




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  The Seventh Circuit broadly construes what constitutes a court order for purposes of imposing sanctions
under Rule 37; an oral directive from the Court is sufficient. See Goudy v. Cummings, 2017 U.S. Dist.
LEXIS 41476, *38 (S.D. Ind., March 22, 2017) (citing various cases issued by the Seventh Circuit).

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       Rule 37(c) directs that, if a party “fails to provide information or identify a witness as

required under Rule 26(a) or (e),” that party is precluded from using that information or witness to

“supply evidence on a motion, at a hearing, or at trial unless the failure was substantially justified

or harmless.” Id., see also Ablan v. Bank of Am. Corp., 2014 U.S. Dist. LEXIS 164751 at *9 (N.D.

Ill., Nov. 24, 2014) (failure to disclose or supplement discovery under Rule 37(c)(1) barring

delinquent party from using for summary judgment or at trial); Moore v. City of Chi. Heights, 2011

U.S. Dist. LEXIS 126738, at *38-39 (N.D. Ill., Feb. 15, 2011). Also, pursuant to Rule 37(c), in

addition to or instead of precluding the use of such information, the court may: (a) order that the

dilatory party pay the moving party’s reasonable expenses caused by the failure; (b) inform the

jury of the failure; and (c) impose other appropriate sanctions as listed under Rule 37(b)(2)(A).

       Defendants withheld approximately 15,866 pages of hard copy documents and 2.5

gigabytes of ESI, and have spoliated other key evidence. Not only have Defendants withheld

documents that go the heart of the claims and defenses in this case, they have also failed to

demonstrate that they acted with reasonable diligence or that their failure to produce these and

other documents on a timely basis was either justified or harmless. Plaintiffs and this Court have

already devoted substantial effort and time toward unravelling the scope of Defendants’ discovery

deficiencies and the lack of veracity of their excuses therefor. However, Defendants have

continued to frustrate this process with intentionally misleading explanations. This does not

amount to “justification” and, in fact, serves as further evidence of their intentional litigation

misconduct and a basis to issue the additional sanctions listed under Rule 37(c)(1)(A)-(C).

       Defendants have also failed to demonstrate that their misconduct was “harmless” or has

been cured by their late productions. On this point, a recent opinion from this Court is instructive.

In Shott v. Rush Univ. Med. Ctr., Judge Kapala found that a claimant’s late production of



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documents, after summary judgment was filed, was enough to demonstrate that the late production

was not harmless, because it “robb[ed the defendant] of its ability to use discovery mechanisms in

order to issue third-party subpoenas or investigate the[] documents further prior to its filing of

summary judgment.” 2015 U.S. Dist. LEXIS 1322, at *13 (N.D. Ill., Jan. 7, 2015) (party who

provided late production carries the burden of proving that its violation was substantially justified

or harmless); see also Int’l Ins. Co. v. Certain Underwriters at Lloyd’s London, 1992 U.S. Dist.

LEXIS 16939, at *10-12 (N.D. Ill., Nov. 5, 1992). Defendants cannot be heard to argue that some

of the newly produced documents tend to support their own claims, thereby disproving any intent

on their part to withhold them. That is not the test.14 Nor do Defendants raise a valid argument

that withheld documents provide evidentiary support for their claims – like Duke’s incomplete e-

mail to Saraswat inquiring whether she inserted Plaintiffs’ Mark into Defendants’ website.

        Not only does Rule 37(c) preclude Defendants from using any documents produced in

March, May or June of 2018 (or any other information or documents that may be discovered

thereafter), it also provides for more severe sanctions. These additional sanctions are fully

warranted because Plaintiffs were deprived of access to this evidence during fact discovery,

causing them severe and irreparable prejudice. Plaintiffs did not have the benefit of these

documents when developing and asserting their claims and defenses to Defendants’

Counterclaims, drafting supplemental document requests, selecting deponents, taking fact and

expert depositions, conducting third-party discovery, determining whether additional documents

or testimony should be gathered, and preparing their summary judgment motions, as well as overall



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    Nor is it relevant that Defendants produced more pages of documents than Plaintiffs. Much of their
production is duplicative or irrelevant. See Qualcomm Inc. v. Broadcom Corp., 2008 U.S. Dist. LEXIS
911 (S.D. Cal. Jan. 7, 2008), vacated in part, 2008 U.S. Dist. LEXIS 16897 (S.D. Cal. Mar. 5, 2008)
(“Producing 1.2 Mill. pages of marginally relevant documents while hiding 46,000 critically important ones
is not good faith, and does not satisfy the client’s or attorney’s discovery obligations.”)

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litigation strategies.   Moreover, Plaintiffs had to devote considerable resources to compel

Defendants to comply with their discovery obligations, and to uncover their misconduct.

Concealment of this evidence has clearly provided Defendants with a litigation advantage,

allowing them to leverage frivolous counterclaims, unjustly succeed in motion practice, require

that Plaintiffs and their experts respond to deceptive claims raised in motions for summary

judgment (which have now been stricken as a result of Defendants’ newly discovered discovery

violations), and protract this litigation for now well over six and a half years. Not only has

Defendants’ misconduct delayed this litigation, it has significantly increased litigation costs,

unduly burdened this Court, and contributed to the spoliation and decay of relevant evidence.

        While many of the June 2018 production documents favors Plaintiffs and uncovered

perjury and false testimony of Defendants, Plaintiffs’ delayed access to these documents is not

enough to cure the harm caused by their late production. Nor is an order merely precluding

Defendants from using the newly produced documents. Defendants’ egregious misconduct in

withholding these critical documents, and the resulting prejudice to Plaintiffs, clearly warrants the

additional sanctions allowed under 37(c)(1)(C) including dismissal and the entry of default.

  C.    DEFENDANTS’ FAILURE TO PRESERVE RELEVANT ESI REQUIRES THE
        IMPOSITION OF SANCTIONS UNDER RULE 37(e)

        Rule 37(e) is implicated when ESI that should have been preserved in anticipation of

litigation is lost, because a party failed to take reasonable steps to preserve it, and it cannot be

restored or replaced through additional discovery. Id.; see also Snider v. Danfoss, LLC, 2017 U.S.

Dist. LEXIS 107591, at *7 (N.D. Ill., July 12, 2017). Under Rule 37(e)(1), upon a finding of

prejudice from the loss of information, a court may order measures no greater than necessary to

cure the prejudice. Under Rule 37(e)(2), upon finding that the party who lost the information acted

with the “intent to deprive another party of the use of the information in the litigation,” a court


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may issue more severe sanctions, including a negative presumption, adverse inference instruction

to the jury, or dismissal of the action or entry of default.

Defendants’ Failure to Meet The Duty to Preserve: “A party has a duty to preserve evidence,

including any relevant evidence over which the party has control and reasonably knew or could

reasonably foresee was material to a potential legal action.” Domanus v. Lewicki, 284 F.R.D. 379,

385 (N.D. Ill. 2012)(quoting Krumwiede v. Brighton Assocs., L.L.C., 2006 U.S. Dist. LEXIS

31669, at *22 (N.D. Ill. May 8, 2006), and Victor Stanley, Inc. v. Creative Pipe, Inc., 269 F.R.D.

497, 525 (D. Md. 2010) (a party breaches its duty to preserve relevant evidence if it fails to act

reasonably by taking positive action to preserve material evidence)); see also Zubulake v. UBS

Warburg LLC, 220 F.R.D. 212, 217 (S.D.N.Y. 2003). Here, the Defendants’ duty to preserve

arose no later than September 2012, when this action was filed, and more likely sooner, insofar as

Defendants withheld communications based on attorney-client privilege dating back to March

2011, when Duke was contemplating litigation against Plaintiffs and Complaints were being

drafted by his lawyers. The importance of the parties’ respective preservation obligations was also

specifically discussed at the time of their first and second Rule 26(f) conferences, which took place

in November 2012 and June 2014. In fact, at the later conference, the parties’ respective document

custodians - including Mr. Duke - participated to facilitate discussions regarding relevant ESI

sources and searches, pursuant this Court’s Order dated May 15, 2014. (Dkt No. 78).

        Defendants’ obligation to preserve evidence they knew or had reason to know would be

relevant to the litigation is judged by an objective standard, so the inquiry is whether “a reasonable

party in the same factual circumstances would have reasonably foreseen litigation.” Micron Tech.

Inc. v. Rambus Inc., 645 F.3d 1311, 1320 (Fed. Cir. 2011). As this Court has already observed,




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Defendants have not met that standard because they failed to follow the most basic steps for

preservation of ESI. See Dkt. No. 256 (Transcript of May 17, 2018 Conference at 16:16-25).

The Loss of Relevant Information: There is no question that relevant ESI has been lost. No

matter how much spin and pivot they attempt, Defendants admit spoliation of Yahoo Chat

documents, their own ESI collection and other ESI throughout this case - but only as a result of

Plaintiffs’ persistence and this Court’s intervention spanning months after the parties had already

fully briefed summary judgment. Apart from the admittedly “auto-deleted” e-mail correspondence

sent by Defendants up through “about 2014,” and the recently disclosed loss of Defendants’ ESI

Data Set, and failure to search and produce emails of all of their employees, Plaintiffs have

identified other relevant documents that should have been included in Defendants’ productions,

but, suspiciously, were not. This includes e-mails exchanged with customers such as Ms. Wood

and similar e-mails that Defendants sent to Plaintiffs’ customers which are now are admittedly

lost. Plaintiffs can justifiably presume that those “lost” e-mails contained comments similar to

those made to Ms. Wood. It is reasonable to presume that Saraswat’s missing response about

whether she inserted Plaintiffs’ Mark into Defendants’ website metadata was unfavorable to

Defendants. This lost evidence is not only relevant, but, more likely than not, issue and case

dispositive.

Defendants’ Failure to Take Reasonable Steps to Preserve ESI: Defendants and their counsel

did not take reasonable steps to preserve relevant information. Instead, what they obviously

preserved and selectively produced were those documents that they thought would best help their

case. This shows an intent to spoliate or otherwise conceal evidence. In accordance with the most

basic of discovery obligations, Defendants and their counsel should have implemented a litigation

hold, and had a duty to properly communicate to ensure that all likely document sources were



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searched for discoverable information. Zubulake v. UBS Warburg LLC, 229 F.R.D. 422, 432

(S.D.N.Y. 2004); See also Dkt. No. 256 (Transcript of May 17, 2018 Conference at 16:16-25).

They also had an affirmative and non-delegable duty to identify key document sources (e.g., all e-

mail accounts and other forms of electronic communication used for business purposes) and make

a reasonable effort to ensure that relevant documents were not “lost.” “Parties cannot be permitted

to jeopardize the integrity of the discovery process by engaging in halfhearted and ineffective

efforts to identify and produce relevant documents.” Bratka v. Anheuser-Busch Co., Inc., 164

F.R.D. 448, 463 (S.D. Ohio 1995). Defendants obviously and admittedly breached these duties.

       Defendants’ counsel have admitted that they gave no written litigation hold memo or

instructions to their clients at any time. See Dkt. No. 256 (Transcript of May 17, 2018 hearing at

20:2-8). This is in spite of multiple events early in this litigation that should have prompted

Defendants to investigate whether they had actually met their discovery obligations. This includes

two Rule 26(f) conference concerning ESI searches and productions (one with Duke himself

participating), multiple meet and confers and depositions exploring Defendants’ efforts to locate

relevant documents, and a direct order from this Court requiring that Defendants identify and

produce, among other things, Defendants’ communications with their SEO consultant.

       Notwithstanding, Defendants and their counsel continue to deflect responsibility for their

actions (and inaction). Defendants’ counsel claims to have relied upon an e-discovery vendor,

who in turn worked with Duke, to copy Defendants’ hard drives and run search terms against the

data. Yet, they did not investigate whether Duke had in fact captured all relevant data sources, nor

did they question why Duke had separately provided them with documents that were absent from

the ESI Data Set. Defendants also offer that certain documents were lost as a result of “auto-

deletion,” but their explanations in this regard are incomplete and inconsistent, and contradicted



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by Defendants’ own documents. Even if documents were lost as a result of “auto” (and not

selective) deletion, Defendants’ failure to de-activate that feature is inexcusable. Their failure to

disclose this spoliation when it was discovered “in or about 2014” is also inexcusable, and still

unexplained by Defendants and their counsel. Whit is even more disturbing and egregious,

although this Court have been engaged in this missing e-discovery issue for over a year now, it

was not until recently that Defendants disclosed that their entire ESI Data Set was spoliated.

Restoration or Replacement of ESI: Rule 37(e) also requires an evaluation of whether lost ESI

can be restored or replaced through additional discovery. Given that Defendants never preserved

and lost ESI, never collected and then spoliated the Yahoo Chat data, and lost their entire ESI Data

Set, replacement and recovery is apparently impossible. There is no way to cure this compete

failure through any other additional discovery.

Prejudice Caused by Defendants’ Misconduct: Defendants’ misconduct resulted in Plaintiffs

litigating this case on a false, incomplete and fabricated record. It also required Plaintiffs to devote

considerable time and resources toward motion practice and unraveling Defendants’ discovery

misconduct. This does not account for the prejudice that Plaintiffs will suffer moving forward in

this litigation. Insofar as evidence has actually been lost and spoliated, Plaintiffs’ ability to present

their case, and defend against Defendants’ spurious counterclaims, has been compromised.

        Both Plaintiffs’ and this Court’s ability to determine the full measure and impact of

Defendants’ spoliation is “unavoidably imperfect” because we “can only venture guesses with

varying degrees of confidence as to what that missing evidence may have revealed.” Lekkas v.

Mitsubishi Motors Corp., 200 U.S. Dist. LEXIS 12016, at *11 (N.D. Ill., August 15, 2000).

However, documents received from other sources and Defendants’ own admissions illustrate the

types of key evidence that have been destroyed. For example, all the e-mails sent by Defendants



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to Plaintiffs’ customers (for which the Wood e-mail chain provides an illustrative example) and

the Yahoo Chat messages with Defendants’ SEO consultant.

        Here, prejudice is pervasive and irreparable, and has not been cured through Defendants’

supplemental production of additional documents – which disclosed further discovery failures and

established that their explanations and excuses are false. That prejudice to Plaintiffs cannot be

cured by simply allowing for additional deposition examination of Duke, who has already perjured

himself on various key points (e.g., SEO capabilities, manufacturing a defamation claim, his

relationship with Bryan Scott, and withholding key online sales data just to name a few).

Intent of Defendants and Defendants’ Counsel: Rule 37(e)(2) provides for more severe

sanctions when a party like in this case has failed to preserve ESI with “the intent to deprive another

party of the information’s use in the litigation.” Id.15 The crucial element is not that the evidence

was destroyed, but that it was destroyed for the purpose of hiding adverse information. Tomas v.

Ill. Dep’t of Empl. Sec., 2018 U.S. Dist. LEXIS 49883, at *33 (N.D. Ill., March 27, 2018).

        The test is not, as Defendants suggest, whether the spoliating party has deprived their

adversary of “smoking gun” evidence. Additionally, a party seeking sanctions is not required to

provide direct evidence of the non-producing party’s intent. In fact, in light of common sense and

experience, our courts appreciate that there almost never is “direct” evidence of intent, and that

circumstantial evidence is sufficient to prove intentional destruction of evidence. Bankdirect

Capital Fin., LLC v. Capital Premium Fin., Inc., 2018 U.S. Dist. LEXIS 57254, at *30 (N.D. Ill.,

April 4, 2018) (also observing that “the Supreme Court has repeatedly stressed that circumstantial

evidence is often more certain, satisfying and persuasive than direct evidence.”). Additionally, in


15
  This Rule was amended in 2015 to better define the parameters for issuance of sanctions when failure to
preserve ESI is at issue. See Advisory Committee Notes for the Dec. 1, 2015 Amendments to Rule 37(e)
(Emphasis added to distinguish between Defendants’ violation of court orders, withholding of documents,
and unclean hands); see also Snider, 2017 U.S. Dist. LEXIS 107591, at *7, note 8.

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the Seventh Circuit, evidence of willfulness, bad faith, or fault justifying sanctions against the

noncomplying party is proven by a preponderance of the evidence, and not the more stringent

“clear and convincing” standard. Tomas v. Ill. Dep't of Emp't Sec., 2018 U.S. Dist. LEXIS 49883,

at *33-34 (N.D. Ill. Mar. 27, 2018) (citing Ramirez v. T&H Lemont, Inc., 845 F.3d 772, 781 (7th

Cir. 2016), cert. denied, 138 S. Ct. 116, 199 L. Ed. 2d 31, 2017 WL 2339748 (2017).

       This is not just a case where counsel failed to issue a formal litigation hold letter or even

take the most basic steps to ensure that relevant information was located and preserved.

Defendants and their counsel did that and also “missed” multiple opportunities to timely disclose

their discovery failures – including Defendants’ admitted 2014 discovery that relevant e-mails had

been auto-deleted which was not disclosed until years later) and their discovery that key e-mail

accounts had never been searched which was not disclosed until well after final briefings on

summary judgment were submitted, and months after Defendants were admittedly informed of

deficiencies in their ESI productions. Apart from this extremely suspect behavior, Defendants

have: (1) responded to Plaintiffs’ concerns with belligerence and sarcasm; (2) sought to stave off

claims raised in Plaintiffs’ summary judgment motion with false declarations and a selective

production of 112 pages of documents in March 2018 after Plaintiffs had filed their final briefing

on summary judgment, and with defense counsel knowing full well, but not disclosing, that their

e-discovery vendor had never searched Duke’s Yahoo.com account; (3) opposed Plaintiffs’ motion

to supplement their summary judgment papers to address their 11th hour production, at which time

they again submitted misleading declarations; and (4) continued to withhold other relevant

documents and ESI until the court directed that they produce same. This alone would be enough

to find bad faith and the requisite intent required for sanctions under Rule 37(e).




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        However, now that Plaintiffs have had the opportunity to evaluate whether Defendants’

document productions hold up against their sworn declarations concerning same, an even more

disturbing pattern of misconduct has become evident. As detailed herein and initially presented at

the August 14, 2018 status conference, it is now clear that Defendants have selectively and

intentionally withheld and/or spoliated relevant evidence throughout this litigation. The absence

of select documents from Defendants’ prior productions, combined with surrounding

circumstances, the spoliated Yahoo Messenger Chat documents, and the loss of their entire ESI

Data Set compels the reasonable inference that Defendants intentionally deleted documents that

are relevant to this action and favorable to Plaintiffs.

        When viewed together, there are simply too many “oversights” and dubious excuses to

ignore -- all supporting a finding that there has been a deliberate attempt to conceal evidence.

Bankdirect Capital Fin., LLC v. Capital Premium Fin., Inc., 2018 U.S. Dist. LEXIS 57254, at *7

(N.D. Ill., April 4, 2018) (inferring intent and issuing sanctions under Rule 37(e)(2) in light of a

“mosaic of evidence leading to a finding of spoliation” including party’s failure to issue a litigation

hold, incredible and shifting explanations regarding auto-purging of documents, and failure to

promptly address the issue).16 When considering a litigant’s excuse for noncompliance with his

or her discovery obligations, a court need not accept their excuse where it is contradicted by the

record, or by common sense. “[W]here the defendant’s wrongful intentions are clear from the

record as a whole, no credence is given to their purported excuse . . . . The basic rule is obvious:

a party cannot avoid a Rule 37 sanction where the excuse is contradicted by the record evidencing

bad faith.” AngioDynamics, Inc. v. Biolitec AG, 991 F.Supp.2d 283, 292 (D. Mass. Jan. 14, 2014).


16
   In Bankdirect, the Magistrate Judge opted against recommending a sanction of default judgment, instead
recommending that the issue either be presented to a jury for determination or that the jury be given a
permissive spoliation instruction. Id. at *33-34. The misconduct in our case is more extreme and merits a
more severe sanction.

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       Because Defendants’ misconduct has been so extreme and clearly intentional, prejudice to

Plaintiffs is not even a prerequisite to the issuance of sanctions under Rule 37(e)(2). See Notes of

Advisory Committee on 2015 Amendments to Rule 37(e)(2) (the finding of intent required by this

subdivision supports both the inference that the lost information was favorable to Plaintiffs as well

as the inference that Plaintiffs were prejudiced by the loss of information that would have favored

their litigation position); see also Global Material Techs., Inc. v. Dazheng Metal Fibre Co., 2016

U.S. Dist. LEXIS 123780, at * 36 (N.D. Ill., Sept. 13, 2016) (“a specific finding of prejudice is not

required under Rule 37(e)(2) once the court has found [requisite intent]”).

       Rule 37(e)(2) thus provides additional support for this Court’s authority to impose severe

sanctions against Defendants. In fact, although subject to the Court’s discretion, the rule itemizes

three sanctions deemed appropriate for this type of misconduct. Under Rule 37(e)(2), the court

may: presume that the lost information was unfavorable to the spoliating party, pursuant to

subsection (2)(A); issue an adverse inference instruction to the jury, pursuant to subsection (2)(B);

or enter dismissal or default judgment, pursuant to subsection (2)(C). At a minimum, a negative

presumption or adverse inference instruction is warranted - on the sole basis of Defendants’

spoliation of evidence. See Brown & Williamson Tobacco Corp. v. Jacobson, 827 F.2d 1119,

1134-36 (7th Cir. 1987) (employee selectively destroyed relevant documents, while litigation was

pending and in violation retention policy, and offered a non-credible justification, fact finder was

entitled to presume that documents would have been unfavorable to him), cert. denied, 485 U.S.

993 (1988); YCB Int’l, Inc. v. UCF Trading Co., No. 09-CV-7221, 2012 U.S. Dist. LEXIS 104887,

at *31 (N.D. Ill. June 12, 2012); see also, Shaffer v. RWP Grp., 169 F.R.D. 19, 28 (E.D.N.Y.

1996)(in light of trial court’s discretion to pursue a wide range of responses to level the evidentiary

playing field and sanction improper conduct, adverse inference was deemed “eminently



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appropriate” where destroyed documents were not only relevant but bore upon a critical issue in

the case); Int’l Union, United Auto., etc. v. NLRB, 459 F.2d 1329, 1335-36 (D.C. Cir. 1972). This

is appropriate as Defendants are at fault for losing this information.17

     D.   SEVERE SANCTIONS ARE WARRANTED BECAUSE OF DEFENDANTS’
          EXTREME AND PERVASIVE LITIGATION MISCONDUCT

          Defendants’ litigation misconduct clearly warrants sanctions – the only question is how

severe those sanctions should be. As demonstrated above, Defendants have not only acted in bad

faith, but have also engaged in serial acts of misconduct, certain of which, even standing alone,

merit “issue sanctions,” or the entry of dismissal or default. In this case, we have violations of

multiple court orders, the fabrication of evidence to support frivolous claims, production of

documents after summary judgment motions were filed, perjury during depositions and in false

declarations submitted to the Court as well as admitted spoliation of data that was never collected

or searched and total loss of Defendants’ ESI Data Set.

          Although the sanctions of dismissal and default are considered severe, they are clearly

warranted where a party exhibits misconduct that is “willful[],” in “bad faith” or “contumacious.”

Crown Life Inc. Co, v. Craig, 995 F.2d 1376, 1382 (7th Cir. 1993). The term “bad faith” has been

defined in the Seventh Circuit to include much of the misconduct we have here, i.e., “unnecessary

delay, needless increase in the cost of litigation, willful disobedience, and recklessly making a

frivolous claim.” Grochocinski, 2011 U.S. Dist. LEXIS 71053, at *13 (citing Mach v. Will County

Sheriff, 580 F.3d 495, 501 (7th Cir. 2009); and Stive v. United States, 366 F.3d 520, 521-22 (7th

Cir. 2004) (collecting cases). The Seventh Circuit has also explained that “bad faith” “has both a



17
   See Goodyear Tire and Rubber Co., 167 F. 3d 776, 779 (2d Cir. 1999) (court has broad discretion in
fashioning a remedy for spoliation; sanctions should be designed to: (1) deter; (2) place the risk of an
erroneous judgment on the party who wrongfully created the risk; and (3) restore the prejudiced party to
the position s/he would have been in absent the wrongful destruction of evidence)(emphasis added).

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subjective and an objective meaning, and often treats reckless and intentional conduct equally.”

Id. However, this is not merely a case of recklessness. On various occasions, Defendants and

their counsel took affirmative steps to conceal critical documents, mislead the Court about their

conduct, provide false declarations with false explanations, spoliated evidence and cause

unnecessary delay, and increase the cost of litigation.

       In considering sanctions, this Court should consider the full complement of Defendants’

misconduct, and “weigh not only the straw that finally broke the camel’s back, but all the straws

that the recalcitrant party piled on over the course of the lawsuit.” Insight, Inc. v. Spamhaus

Project, 658 F.3d 637, 643 (7th Cir. 2011). Here, the list of misconduct is extensive and disturbing,

and includes Defendants’ withholding of evidence, destruction of evidence, utter disregard for

court orders, sharp litigation practices, prosecution of frivolous claims, deliberate efforts to avoid

providing complete discovery responses, selective production of documents, and deceptive

representations by both Defendants and their counsel made under oath to this Court. In fact, what

we have here is “misconduct that places too high a burden on allowing the case to continue.”

Global Material Techs., Inc. v. Dazheng Metal Fibre Co., 2016 U.S. Dist. LEXIS 123780, at *32

(N.D. Ill., Sept. 13, 2016) (citing Dotson v. Bravo, 321 F.3d 663, 665 (7th Cir. 2003); and Barnhill

v. United States, 11 F.3d 1360, 1368 (7th Cir. 1993)).

       Courts in this Circuit and District have long recognized that the severe sanctions of

dismissal and/or default may be warranted in similar, and even less egregious circumstances. See

e.g., Global Material Techs., 2016 U.S. Dist. LEXIS 123780, at * 38 (entering default on trade

secrets claim because the defendants disposed of corporate computers while the lawsuit was

pending, erased e-mails, lied about the extent of destruction, and stubbornly failed to comply with

their discovery obligations); see also Olivia v. Trans Union, LLC, 123 Fed. Appx. 725 (2005)



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(although dismissal is a harsh sanction, a district judge must “be guided by the norm of

proportionality” and “as soon as a pattern of non-compliance with the court’s discovery orders

emerges, the judge is entitled to act with a swift decision.”) (quoting, Newman v. Metro. Pier &

Exposition Auth., 962 F.2d 589, 591 (7th Cir. 1992)); Barnhill v. United States, 11 F.3d at 1367 (a

federal court has the inherent authority to issue sanctions and may even impose “the severe

sanction of dismissal with prejudice (or its equivalent, judgment) if the circumstances so

warrant.”); Govas v. Chalmers, 965 F.2d 298, 303 (7th Cir. 1992) (“district court has the discretion

to dismiss a claim when a party demonstrates a pattern of dilatory and evasive discovery tactics

and when that party willfully persists in such tactics in violation of court warnings and orders.”)

(citing Hal Commodity Cycles Management Co. v. Kirsh, 825 F.2d 1136, 1138 (7th Cir. 1987)

(Seventh Circuit has repeatedly upheld the entry of default judgments for discovery violations

when a party willfully chooses “not to conduct its litigation with the degree of diligence and

expediency prescribed by the trial court . . . .”); Metropolitan Life Ins. Co. v. Estate of Cammon,

929 F.2d 1220, 1223 (7th Cir. 1991) (upholding entry of default judgment under Rule 37 where

litigant provided few documents in response to discovery demands despite district court’s warning

that it would enter default judgment if documents were not produced within a specified amount of

time); Sere v. Bd. of Trustees, 852 F.2d 285, 290 (7th Cir. 1988) (upholding dismissal against party

that willfully failed to comply with court orders)).

       The sanctions of dismissal and default are also justified because lesser sanctions, for

example, an adverse inference instruction, would not adequately account for the seriousness of

Defendants’ pervasive misconduct, including their abuse of the litigation process, spoliation, false

declarations and affirmative acts of deceit.

 E.    DEFENDANTS SHOULD BE DENIED ANY AND ALL RELIEF SOUGHT IN THIS
       LITIGATION AS A RESULT OF THEIR “UNCLEAN HANDS”

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       Insofar as Defendants are seeking equitable relief, it is within this Court’s discretion to

dismiss those claims and deny them any such relief on the basis of the equitable defense of unclean

hands. See Root Ref. Co. v. Universal Oil Prods. Co., 169 F.2d 514, 534-35 (3d Cir. 1948) (“No

principle is better settled than the maxim that he who comes into equity must come with clean

hands and keep them clean throughout the course of the litigation, and that if he violates this rule,

he must be denied all relief whatever may have been the merits of his claim.”); see also Committee

Comments to 12.7.3 Federal Civil Jury Instructions “Defenses – Unclean Hands/Estoppel” (2008

rev.)(noting that the defense of unclean hands is an issue for the court, not the jury, and in turn

citing cf. Hot Wax, Inc. v. S/S Car Care, 1999 WL 966094, at *5 (N.D. Ill. Oct. 14, 1999).

       Defendants have engaged in multiple acts of litigation as well as business misconduct,

many of which, even standing alone, equal or exceed misconduct found in other courts to constitute

unclean hands. Metro Publishing, Ltd. v. San Jose Mercury News, Inc., 861 F. Supp. 870, 880

(N.D. Cal. 1994) (plaintiff’s deliberate attempt to create trademark confusion constituted unclean

hands; summary judgment against trademark holder granted “on this basis alone”); Aris-Isotoner

Gloves, Inc. v. Berkshire Fashions, Inc., 792 F. Supp. 969, 970 (S.D.N.Y. 1992), aff’d, 983 F.2d

1048 (2d Cir. 1992) (unclean hands where defendant’s president lied under oath); C.C.S. Commc’n

Control, Inc. v. Sklar, 1987 U.S. Dist. LEXIS 4280 (S.D.N.Y. 1987) (denying equitable remedy to

plaintiff who committed perjury); U.S. Ethernet Innovations, LLC v. Texas Instruments Inc., Case

No. 6:11-cv-491-MHS, 2014 U.S. Dist. LEXIS 131334, 2014 WL 4683252, at *6 (E.D. Tex. 2014)

(unprofessional conduct, including attempted interference with adversary’s expert, constituted

unclean hands). Taken together, these acts by Defendants, including Duke himself, who is the

President of 21CS, and their counsel clearly rise to the level of contumacious conduct that merits

a finding of unclean hands barring them from any relief in this case.



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 F.    PLAINTIFFS ARE ALSO ENTITLED TO REASONABLE EXPENSES,
       INCLUDING ATTORNEYS’ FEES, UNDER RULES 37(a) and 56(h)

       Essentially all of the expenses that Plaintiffs incurred in 2018 and into 2019 are attributable

to Defendants’ litigation and discovery misconduct. Plaintiffs have already invested in motion

practice, pursuant to Rule 37, resulting in Defendants providing, through various stages of

resistance, incomplete document productions. Prior to 2018, Plaintiffs invested time and expense

in fact and expert discovery, and engaged in motion practice related to Defendants’ discovery

deficiencies and frivolous defamation claim. Plaintiffs also invested considerable time and effort

in their summary judgment filings, which were ultimately stricken in order to address Defendants’

discovery misconduct.      During this time, Plaintiffs were disadvantaged by Defendants’

concealment of, among other things: (a) Duke’s SEO knowledge and abilities; (b) e-mails

exchanged between Duke and his SEO consultant; (c) summary data relating to Defendants’ early

on-line sales; (d) communications exchanged between Duke and Edmiston, including an

exculpatory recording, that reveal Defendants’ defamation claim to be frivolous; and (e)

communications revealing Defendants’ efforts to trade on Plaintiffs’ good will. Additionally,

Plaintiffs invested considerable time and effort in evaluating and responding to Defendants’ recent

productions and related submissions, in order to provide this Court with an accurate assessment

of same. This included review time, as well as Plaintiffs’ preparation of submissions and

presentations at court conferences.

       Plaintiffs’ recovery of reasonable expenses, including attorneys’ fees is required under

several provisions of Rule 37. Pursuant to Rule 37(a)(5)(A), Defendants must pay Plaintiffs’

reasonable expenses incurred in making this and earlier Rule 37 motions. Additionally, instead of

or in addition to the sanctions outlined at Rule 37(b)(2)(A)(i)-(vii) for violation of a court order,

Rule 37(b)(2)(c) directs that the Court “must order that the disobedient party, the attorney advising


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that party, or both pay the reasonable expenses, including attorneys’ fees, caused by the failure.”

Id. (Emphasis added). The only way that Defendants might avoid such sanctions would be to

demonstrate that such an award is unjust, or that their misconduct was somehow substantially

justified. See Rule(37)(a)(5)(A)(ii)-(iii). There is nothing in the current record which might

“substantially justify” Defendants’ misconduct, nor have Defendants demonstrated that an award

of Plaintiffs’ reasonable expenses and attorneys’ fees incurred as a result of their discovery

misconduct would be unjust.

        There is also ample authority for a discretionary award of such expenses and fees to

Plaintiffs.   Rule 37(c)(1)(A), which is implicated as a result of Defendants’ withholding

documents, provides that the court may order that the dilatory party pay the moving party’s

“reasonable expenses caused by the failure” to timely produce documents. Additionally, Rule

37(e)(1), which is implicated as a result of Defendants’ failure to preserve ESI, provides for

sanctions that will “necessarily cure the prejudice” caused by Defendants’ failure to preserve

relevant evidence. This would include reasonable legal costs and fees. See De Simone v. VSL

Pharms., Inc., 2018 U.S. Dist. LEXIS 43398, at *26 (D. Md., March 16, 2018) (reasonable costs

and fees appropriate because the requesting party had incurred significant costs and attorneys’ fees

for investigating spoliation and presenting motion to court). Finally, Rule 56(h) is also implicated,

because Defendants submitted Declarations to support their summary judgment motions in bad

faith. This rule also provides this Court with the discretionary authority to not only award

Plaintiffs’ reasonable expenses and attorneys’ fees, but also hold the offending party and counsel

in contempt or subject to appropriate sanctions. Id.

  G.    DEFENSE COUNSEL SHOULD ALSO BE REQUIRED TO PAY PLAINTIFFS’
        REASONABLE EXPENSES, INCLUDING ATTORNEYS’ FEES




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       As discussed above, Rule 37(b)(2)(c) recognizes that, when an Order of the court is

violated, the court “must order that the disobedient party, the attorney advising that party, or both

pay the reasonable expenses, including attorneys’ fees, caused by the failure.” Id. (Emphasis

added). Additionally, pursuant to 28 U.S.C.A. §1927, a court may require that “[a]ny attorney…

who so multiplies the proceedings in any case unreasonably and vexatiously…satisfy personally

the excess costs, expenses, and attorneys’ fees reasonably incurred because of such conduct.” The

Seventh Circuit has explained that an attorney’s conduct is “unreasonable and vexatious” when

counsel engages in “serious and studied disregard for the orderly process of justice . . . or pursued

a path that a reasonably careful attorney would have known, after appropriate inquiry, to be

unsound.” The Jolly Group v. Medline Industries, Inc., 435 F.3d 717, 720 (7th Cir. 2006); see also

In re TCI Ltd., 769 F.2d 441, 445 (7th Cir. 1985).

       This Court is also required to impose sanctions against Defendants and their counsel,

pursuant to Rule 26(g)(3), because they wrongfully certified that “to the best of that their

knowledge, information, and belief formed after reasonable inquiry,” their discovery responses

and objections were complete and disclosures had not been made for an improper purpose. Id.

(Emphasis added). “The point of Rule 26(g) is to hold someone personally responsible for the

completeness and accuracy of discovery responses.” HM Elecs. Inc., v. R.F. Techs., Inc., 2015

U.S. Dist. LEXIS 104100, at *34 (S.D. Cal., Aug. 7, 2015, vacated as moot following settlement,

171 F. Supp. 3d 1020 (S.D. Cal., March 15, 2016). As noted above, Rule 56(h) also provides the

Court with the discretionary authority to sanction counsel for their role in submitting declarations

in bad faith to support Defendants’ summary judgment submissions.

       In light of these various rules, courts have ample authority to issue hefty monetary

sanctions against litigants and their counsel when their misconduct is extreme and complicit, and



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when those sanctions are intended to reasonably compensate a party for the prejudice caused by

such misconduct. See, e.g., HM Elecs., Inc. v. R.F. Techs., Inc., 2015 U.S. Dist. LEXIS 104100

at * 82)(finding that the court rules required an award of compensatory monetary sanctions against

defendant and defense counsel - due to the duration, frequency and severity of their discovery

abuses - in the form of reasonable fees and costs incurred by plaintiff from the time that the defense

provided false responses and certifications, which covered approximately two years of litigation

expenses);18 KCI USA, Inc. v. Healthcare Essentials, Inc., et al, 339 F. Supp. 3d 672, 677,

686)(N.D. Ohio, 2018)(holding defendants and their counsel jointly and severally liable to pay

approximately $700,000.00 in litigation costs and expenses wrongly incurred by plaintiff as a

result of their obstructive litigation tactics, withholding of documents, submission of false

affidavits, fabrication of evidence, and spoliation of ESI).19

          Based on the record before the Court, counsel should be obligated to pay a portion of the

expenses incurred by Plaintiffs as outlined above, because they participated in the withholding of

material evidence, spoliating evidence, and submitted false or otherwise intentionally misleading

declarations to this Court and Plaintiffs on multiple occasions. In fact, it is clear from their own

sworn Declarations that counsel knew that their vendor had not been given access to Duke’s Yahoo

account, and that therefore many relevant documents had not been searched and provided, as of

the time they filed their summary judgment submissions on March 19, 2018. Rather than promptly

disclosing, defense counsel took affirmative steps in the opposite direction. They produced

“some” hand selected documents, concealed their knowledge of the withheld evidence and



18
     Plaintiff later calculated that amount to be close to $1.35 million. See HM Elecs. Inc., 171 F. Supp.
3d 1020, 1025 (S. D. Cal. 2016).
19
   In this case, defendants and their attorneys were ordered to pay a collective amount of $2.5 million in
attorneys’ fees and costs to plaintiffs, on the basis of defendants’ and defense counsel’s litigation
misconduct and RICO (and its state counterpart).

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discovery failures, offered false assurances that sought to remedy any concerns Plaintiffs may have

about missing documents, and then proceeded to move forward with summary judgment motions

with the intent of not only cancelling Plaintiffs’ registered trademarks, but also disgorging “eight

figures” in damages from Plaintiffs based on a manufactured and false record. Defendants and

Defendants’ counsel should all be held accountable for their misconduct.

VI.    CONCLUSION

       Based upon the foregoing, Plaintiffs submit there is ample justification to sanction the

Defendants by dismissing their counterclaims, and entering a default judgment on Plaintiffs’

Complaint. At the very least, the Court should issue evidentiary sanctions, and award the Plaintiffs

their attorneys’ fees and costs that were necessitated by Defendants’ and their counsels’

misconduct and deceit. If the Court wants or needs to hear more, the Plaintiffs submit that the

Court should order an evidentiary hearing and follow that with a Court Ordered independent

forensic examination of Defendants’ discovery activities all at Defendants’ expense.

       Respectfully submitted,                               Dated: March 25, 2019
       Attorneys for Plaintiffs

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